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     Fill in this 1nformat,on to 1dent1f; 1our case
                                                                                                                                        FILED
     United States Bankruptcy Court for the:
     Southern District of Ohio
                                                                                                                                  19 APR -5 PH 3: 03
     Case number (ffknown): __________ Chapter you are filing under:
                                         Chapler-7
                                         Chapter11
                                                                    id'
                                                                    □
                                                                                                                                     /Zir,�''iF Jioi:� �
                                                                                                                                  U.S. [;;\/;i<F!ii'.:lTCV CCURT
                                                                    □
                                         Chapler12
                                         Chapter- 13                □                                                              □ ��tiiiuttO
                                                                                                                                      amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12111

The bankruptcy fonns use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and In joint cases, these fonns use you to ask for information fn>m both debtors. For example, if a fonn asks, "Do you own a car,"
the answer would be ,es if eilber debtor owns a car. When infonnation Is needed about the spouses separalllly, the fonn uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report infonnation as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the fonns.
Be as complete and accurate as possible. If two married people are fling together, both are equally responsible for supplying comict
infonnation. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


•ifI          Identify Yourself

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
      Write the name that is on your
                                        Tawanda
      government-issued picture
      identification (for example,     First name                                                    First name
      your driver's license or          LaShawn
      passport).                       Middename                                                     Middename
      Bring your picture                Luckey
      identification to your meeting   Lastname                                                      Lastname
      with the trustee.
                                       Suffix (Sr.• Jr.• II. Ill)                                    Suffix (Sr.. Jr.• II. Ill)




2.    All other names you               Tawanda
      have used in the last 8          Firstname                                                     First name
      years                             L
      Include your married or          Midc:lenane                                                   Middlenane
      maiden names.                     Luckey
                                       Last name                                                     Last name

                                       Tawanda
                                       First name                                                    First name

                                       Midclename                                                   Middename
                                        Luckey
                                       lastname                                                      Lastname




3. Only the last 4 digits of
   your Social Security                XXX      -    xx -_3
                                                          ____
                                                            4 _
                                                              8 _L                                  XXX       - xx ------- --
                                                -                                                             -
   number or federal                   OR                                                           OR
   Individual Taxpayer
   Identification number               9xx          xx     - ----         ----                      9xx           xx     --- ------
   (ITIN)

Official Fonn 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                   page 1
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Delltor 1
              -- --
              Tawanda LaShawn Luckey
                                              1.a1-..
                                                                                              Gasenumber11- .......1_____________




                                About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                 � I have not used any business names or EINs.                    0 I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years             Business name                                                    Business name
    lndude trade names and
    doing business as names                                                                      Business name
                                Business name




                                EIN-                                                             EIN-




5. Where you live                                                                               If Debtor 2 lives at a diffenmt address:



                                5410 Aster Park Dr
                                Number  Street                                                   Number      Street

                                #707

                                 Wester Chester                           Oh        45011
                                City                                     State     ZIP Code      City                                 State    ZIP Code

                                 Butler
                                County                                                          County

                                If your malling address is different from the one               If Debtor 2's mailing address is different from
                                above, fill it in here. Note that the court will send           yours, fill It In here. Note that the court will send
                                any notices to you at this mailing address.                     any notices to this mailing address.



                                Number          Street                                          Number       Street


                                P.O.Box                                                          P.0.Box


                                City                                     State     ZIP Code     City                                 State     ZIP Code



&. Why you are choosing         Check one:                                                      Check one:
    this district to file for
    bankruptcy                  liZI Over the last 180 days before filing this petition,        0 Over the last 180 days before filing this p etition,
                                       I have lived in this district longer than in any           I have lived in this district longer than in any
                                       other district.                                            other district.

                                0 I have another reason. Explain.                               0 I have another reason. Explain.
                                  (See 28 u.s.c. § 1408.)                                         (See 28 u.s.c. § 1408.)




 Official Form 101                           Voluntary Petition for Individuals Fifing for Bankruptcy                                   page2
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Debtor 1       Tawanda
               FinltNane
                         Lashawn Luckey
                         --
                                                                                          Case number(ifknownJ,____________
                                   last Name




•Mil         Tell the Court About Your Bankruptcy         ea-

7. The chapter of the             Check one. (For a brief desaiption of each, see Notice Required by 11 U.S.C. § 342(b} for Individuals Filing
   Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
   under
                                  Ill Chapter 7
                                  0 Chapter 11
                                  0 Chapter 12
                                  0 Chapter 13


a. How you will pay the fee       O I will pay the entire fee when I file my petition. Please check with the derk's office in your
                                     local court for more details about how you may pay. Typically, if you are paying the fee
                                     yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                     submitting your payment on your behalf, your attorney may pay with a credit card or check
                                     with a p�rinted address.

                                  0 I need to pay the fee in installments. If you choose this option, sign and attach the
                                    Application for Individuals to Pay The Filing Fee in Installments (Official Fonn 103A).

                                  '21 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                     less than 150% of the official poverty line that applies to your family size and you are unable to
                                     pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                     Chapter 7 Filing Fee Waived (Official Fonn 103B) and file it with your petition.


9.    Have you filed for
      bankruptcy within the
                                  □ No
      last 8 years?               \lives.   Oistrid    southern ohio            When    04/29/2016        Case number 16-11656
                                                                                        MM/ 00/YYYY

                                            Distrid                             When                      Case number
                                                                                        MM/ DD/YYYY

                                            Oislricl                            When                      Case number
                                                                                        MM/ DD/YYYY



10.   Are any bankruptcy          Ill No
      cases pending or being
      filed by a spouse who is    □ Yes.    Debtor                                                        Relationship to you
      not filing this case with             Distrid                             When                      Case number, if known
      you, or by a business                                                             MM/DD /YYYY
      partner, or by an
      affiliate?
                                            Debtor                                                        Relalionstip to you
                                            Dislricl                            When                      Case mnnber, if known
                                                                                        MM/DD/YYYY



11.   Do you rent your            ONo. Go to line 12.
      residence?                  IZI Yes. Has your landlord obtained an eviction judgment against you?
                                            IZI No. Go to line 12.
                                            0 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Fonn 101A) and file it as
                                              part of this bankruptcy petition.




 Official Fonn 101                          Voluntary Petition for lndMduals Filing for Bankruptcy                                  page3
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Debtor 1       Tawanda Lashawn Luckey                                                           Casenumberc,-.J,_____________
              First Name    --                 Last Name




•iii       Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor        l;ZI No. Go to Part4.
    of any full- or part-time
    business?                        0 Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                              Name of business, if any
    indMdual, and is not a
    separate legal entity such as
    a corporation, partnership, or
    LLC.                                      Number        Street

    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                               City                                                               ZlPCode


                                              Check the appropriate box to describe your business:
                                              0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              0 None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a smaH business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                     any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debt.of?
    For a definition of small
                                     23 No.   I am not filing under Chapter 11.
    business debtor, see             0 No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    11 u.s.c. § 101(510).                     the Bankruptcy Code.

                                     0 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                              Bankruptcy Code.


           Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any           '2J No
    property that poses or is
    alleged to pose a threat         0 Yes.    What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                               If immediate attention is needed, why is it needed? ________________
    immediate attention?
   For example, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?

                                               Where is the property? _________________________
                                                                         Number        Street




                                                                         City                                        �           ZIPCode


 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                   page4
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Debtor 1      Tawanda-
                     LaShawn
              Firsl Nane
                       Nane
                             Luckey            laot Nane
                                                                                                  Case number11,.._,1c______________




•Mil       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
1s. Tell the court whether
   you have received a
   briefing about credit             You must check one:                                             You must check one:
   counseling.
                                     l;a I received a briefing from an approved credit               0 I received a briefing from an approved credit
                                         counseling agency within the 180 days before I                counseling agency within the 180 days before I
   The law requires that you             filed this bankruptcy petition, and I received a              filed this bankruptcy petition, and I received a
   receive a briefing about credit       certificale of completion.                                    certificale of completion.
   counseling before you file for
   bankruptcy. You must                  Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment
                                         plan, if any, 1hat you developed wi1h the agency.             plan, if any, that you developed wi1h the agency.
   truthfully check one of the
   following choices. If you         0 I received a briefing from an approved credit                 0 I received a briefing from an approved credit
   cannot do so, you are not           counseling agency within the 180 days before I                  counseling agency within the 180 days before I
   eligible to file.                   filed this bankruptcy petition, but I do not have a             filed this bankruptcy petition, but I do not have a
                                       certificale of completion.                                      certificate of completion.
   If you file anyway, the court       Within 14 days after you file this bankruptcy petition.         Within 14 days after you file this bankruptcy petition.
   can dismiss your case, you
                                       you MUST file a copy of the certificate and payment             you MUST file a copy of the certificate and payment
   will lose whatever filing fee       plan, if any.                                                   plan, if any.
   you paid, and your creditors
   can begin collection activities   0 I certify that I asked for credit counseling                  0 I certify that I asked for credit counseling
   again.                              services from an approved agency, but was                       services from an approved agency, but was
                                       unable to obtain those services during the 7                    unable to obtain those services during the 7
                                       days after I made my request, and exigent                       days after I made my request, and exigent
                                       circumstances merit a 30-day temporary waiver                   circumstances merit a 30-day temporary waiver
                                       of the requirement.                                             of the requiremenL
                                        To ask for a 30-day temporary waiver of the                     To ask for a 3Cklay temporary waiver of the
                                        requirement, attach a separate sheet explaining                 requirement, attach a separate sheet explaining
                                        what efforts you made to obtain the briefing, why               what efforts you made to obtain the briefing, why
                                        you were unable to obtain it before you filed for               you were unable to obtain it before you filed for
                                        bankruptcy, and what exigent circumstances                      bankruptcy, and what exigent circumstances
                                        required you to file 1his case.                                 required you to file 1his case.
                                        Your case may be dismissed if the court is                      Your case may be dismissed if the court is
                                        dissatisfied wi1h your reasons for not receiving a              dissatisfied wi1h your reasons for not receiving a
                                        briefing before you filed for bankruptcy.                       briefing before you filed for bankruptcy.
                                        If the court is satisfied with your reasons. you must           If the court is satisfied with your reasons, you must
                                        still receive a briefing within 30 days after you file.         still receive a briefing within 30 days after you file.
                                        You must file a certificate from the approved                   You must file a certificate from the approved
                                        agency, along wi1h a copy of the payment plan you               agency, along with a copy of the payment plan you
                                        developed, if any. If you do not do so, your case               developed, if any. If you do not do so, your case
                                        may be dismissed.                                               may be dismissed.
                                        Any extension of the 30-day deadline is granted                 Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15                only for cause and is limited to a maximum of 15
                                        days.                                                           days.
                                     0 I am not required to receive a briefing about                 0 I am not required to receive a briefing about
                                       credit counseling because of:                                   credit counseling because of:
                                        0 Incapacity. I have a mental illness or a mental               0 Incapacity. I have a mental illness or a mental
                                                      deficiency that makes me                                        deficiency that makes me
                                                      incapable of realizing or making                                incapable of realizing or making
                                                      rational decisions about finances.                              rational decisions about finances.
                                        D Disability.      My physical disability causes me             D Disability.     My physical disability causes me
                                                           to be unable to participate in a                               to be unable to participate in a
                                                           briefing in person, by phone, or                               briefing in per.;on, by phone, or
                                                           through the internet, even after I                             through the internet, even after I
                                                           reasonably tried to do so.                                     reasonably tried to do so.
                                        D Active duty.     I am cunently on active military             0 Active duty. I am cunently on active military
                                                           duty in a military combat zone.                             duty in a military combat zone.
                                        If you believe you are not required to receive a                If you believe you are not required to receive a
                                        briefing about credit counseling, you must file a               briefing about credit counseling, you must file a
                                        motion for waiver of credit counseling wi1h the court.          motion for waiver of credit counseling wi1h the court.




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Debtor 1      Tawanda LaShawn Luckey                                                         Case number(if_,l_____________
             --           --                 LmtNane




•ifI       Answer These Questions for Reporting Purposes

                                   16a. Are your debts primarily consumer debts? Consumerdebtsaredefined in 11                     u.s.c. § 101(8)
16. What kind of debts do               as "incurred by an incfnridual primarily for a personal, family, or household purpose."
   you have?
                                       0 No. Go to line 16b.
                                       0 Yes. Go to line 17.

                                   16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                        money for a business or inwstment or through the operation of the business or investment
                                       0 No. Go to line 16c.
                                       0 Yes. Go to line 17.

                                  16c. State the type of debts you owe that are not consumer debts or business debts.



11. Are you filing under
   Chapter7?                      D No.    I am not filing under Chapter 7. Go to line 18.

   Do you estimate that after 0Yes. I am filing under Chapter 7. Do you estimate that alter any exempt property is excluded and
   any exempt property is           administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                     � No
   administrative expenses
   are paid that funds will be      0 Yes
   available for distribution
   to unsecured creditors?

1a. How many creditors do         01-49                                 0 1,000-5,000                               0 25,001-50,000
    you estimate that you
    owe?
                                  □ 50-99                               0 5,001-10,000                              0 50,001-100,000
                                  0 100-199                             0 10,001-25,000                             0 More than 100,000
                                  0 200-999

19. How much do you               0 $0-$50,000                          0   $1,000,001-$10 million                  0 $500,000,001-$1 billion
    estimate your assets to       I!) $50,001-$100,000                  0   $10,000,001-$50 million                 0 $1,000,000,001-$10 billion
    be worth?                     0 $100,001-$500,000                   0   $50,000,001-$100 million                0 $10,000,000,001-$50 billion
                                  D $500,001-$1 million                 0   $100,000,001-$500 million               0 More than $50 billion

20. How much do you               0   $0-$50,000                        0 $1,000,001-$10 million                    0 $500,000,001-$1 biHion
    estimate your liabilities     �   $50,001-$100,000                  0 $10,000,001-$50 million                   0 $1,000,000,001-$10 billion
    tobe?                         0   $100,001-$500,000                 D $50,000,001-$100 million                  0 $10,000,000,001-$50 billion
                                  0   $500,001-$1 million               0 $100,000,001-$500 million                 0 More than $50 billion

•#fl       Sign Below

                                  I haw examined this petition, and I declare imder penalty of perjury that the information provided is true and
Foryou                            correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                  of title 11, United States Code. I mderstand the relief available under each chapter, and I choose to proceed
                                  under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fiH out
                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                            apter of title 11, United States Code, specified in this petition.
                                                                          concealing property, or obtaining money or property by fraud in connection
                                                                             up to $250,000, or imprisonment for up to 20 years, or both.
                                                                          1.



                                                                                                    Signature of Debtor 2

                                                                                                    Executed on ______
                                                                                                                MM/ DD /YYYY


 Official Form 101                          Voluntary Petition for lndMduals Filing for Bankruptcy                                         page 6
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Debtor 1             LaShawn Luckey
              Tawanda--
              FirstNane
                                                                                           Casenumber�-.i,_____________
                                          1.a1-..



                                I, the attorney for the debtor(s) named in this petition, declare that I haw informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter7, 11, 12, or 13 oftille 11, United States Code, and haw explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I haw delivered to the debtor(s)
                                the notice required by 11 U.S.C.§ 342(b) and, in a case in which§707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.         JC                                                                 Date
                                   Signature of Attorney for Debtor                                              MM     /   DD /YYYY




                                   Printed name


                                   Firm name


                                     Number    Street




                                   City                                                                          ZIPCode




                                   Contact    phone-------------                                  Email address __________




                                   Bar number                                                     State




 Official Form 10 1                       Voluntary Petition for Individuals Filing for Bankruptcy                                      page7
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Debtor 1
             -- -- '---
             Tawanda LaShawn Luckey                                                   Case runber11-1,_____________




For you if you are filing this   The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an            should understand that many people find it extremely difficult to represent
attomey                          themselves successfully. Because bankruptcy has long-term financial and legal
                                 consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attomey, you do not           To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.          technical, and a mistake or inaction may affect your rights. For example, your case may be
                                 dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                 hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                 firm if your case is selected for audit. If that happens, you could lose your right to file another
                                 case, or you may lose protections, including the benefit of the automatic stay.
                                 You must list all your property and debts in the schedules that you are required to file with the
                                 court Even if you plan to pay a particular debt outside of your bankruptcy, you must rist that debt
                                 in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                 property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                 also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                 case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                 cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                 If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                 hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                 successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                 Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                 be familiar with any state exemption laws that apply.

                                 Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                 consequences?
                                 0 No
                                 w'! Yes
                                 Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                 inaccurate or incomplete, you could be fined or imprisoned?
                                 0 No
                                 !;a Yes
                                 Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                 0 No
                                 la Yes. Name of Person,...:D::.o.::.n:.:cna:..;=:...:.H.;.;a:::rp:.c.::e:..:.r__________________
                                           Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).




                                                                                          JC
                                                                                               Signature of Debtor 2

                                                                                               Date
                                                                                                                MM/ DD /YYYY

                                 Contact phone   (513) 212-7704                                Contact phone

                                 CeHphone                                                      Cell phone

                                 Email address                                                 Email address



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  Fill 1n this 111format1on to 1de11t1fy your case


  Debtor 1         Tawanda                            Lashawn                     Luckey
                    FntName                           -Name                            LastName

  Debtor2
  (Spouse, W filing) Fnt Name                         Middle Name                      Last Name


  Umed States Bankruplcy Court for the: Southern Disbict of Ohio

  Case number                                                                                                                                                                □     Check if this is an
                                                                                                                                                                                   amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    1211s
Be as complete and accurallt as possible. If two manied people are fling together, both ant equally rasponsible for supplying c:onac:t
infonnation. Fill out all of your schedules first; then complete the lnfonnation on this form. If you are filing amended schedules after you file
your original fomJS, you must fill out a n- Summary and check the box at the top of this page.


1§11          Summarize Your Assets


                                                                                                                                                                         Yourassets
                                                                                                                                                                         Value of what you own

                                                                                                                                                                             s ____o.:_.o
                                                                                                                                                                                        _ o
1. Schedule AIB: Propedy(Oflicial Form 106A/B)
                                                                                                                                                                                          _
    1a. Copy line 55, Total real estate, from Schedule AIB ......................................................................................................... .


    1b. Copy line 62, Total personal property, from Schedule A/8.............................................................................................. .             $ __           _ 0
                                                                                                                                                                                11-'-,9_5_0.0_


    1c. Copy line 63, Total of all property on Schedule AIB ·········································································································
                                                                                                                                                                     I   s  11,95o. oo l
                                                                                                                                                                      ..____               _.



iiia
                                                                                                                                                                             _ _ _ _ _ _ _

              Summarize Your Liabilities


                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe
2. Schedule D: Creditors INho Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                                       10,095.96
    2a. Copy the total you listed in Column A, Amount of daim, at the bottom of the last page of Part 1 of Schedule D ............                                           $


3. Schedule EJF: Creditors INho Have Unsecured Claims (Official Form 106E/F)
   3a. Copy the total daims from Part 1 (priority unsecured daims) from line 6e of Schedule EJF ............................................                                 $                0.00

    3b. Copy the total daims from Part 2 (nonpriority msewred daims) from line 6j of Schedule EJF .......................................
                                                                                                                                                                         +   $        49,888.73


                                                                                                                                        Your total liabilities               $        59,984.69




•IE           Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                                             $     2,19 4.32
   Copy your combined monthly income from line 12 of Schedule 1 ..........................................................................................                       ------
5. Schedule J: Your Expenses (Official Form 106.J)
                                                                                                                                                                             $     2,_ 1_ 9 4.
                                                                                                                                                                                            _ _ 32_
   Copy your monthly expenses from line 22c of Schedule J . ...................................................................................................                  __




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical lnfonnation                                                      page 1 of2
           Case 1:19-bk-11222                     Doc 1        Filed 04/05/19 Entered 04/05/19 15:19:29                                   Desc Main
                                                              Document      Page 10 of 61

    Debtor 1         Tawanda                     Lashawn            Luckey                             Casenumber1;r-.,,______________
                     FntName       Middle Name         LastName




                    Answer These Questions for Administrative and Statistical Records

    s. Are you filing for bankruptcy under Chapters 7, 11, or 13?

         □     No. You have nothing to report on this part of the fonn. Check this box and submit this fonn to the court with your other schedules.
         liZI Yes
    7. What kind of debt do you have?

         liZI Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
             family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         □   Your debts are not primarily consumer debts. You have nothing to report on this part of the fonn. Check this box and submit
             this fonn to the court with your other schedules.



    s. From the Statement of Your Cunent Monthly Income: Copy your total current monthly income from Official
       Fonn 122A-1 Line 11; OR, Fonn 122B Line 11; OR, Fonn 122C-1 Line 14.                                                               $ __2_,64_5._30_




    9.   Copy the following special categories of claims from Part 4, line 6 of Schedule EIF:


                                                                                                             Total claim


           From Part 4 on Schedule EIF, copy the following:


         9a. Domestic support obligations (Copy line 6a.)                                                    $                   0.00


         9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $                   0.00

         9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                   0.00


         9d. Student loans. (Copy line 6f.)                                                                  $             38,297.00

         9e. Obligations arising out of a separation agreement or divorce that you did not report as         $                   0.00
             priority claims. (Copy line 6g.)

         9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)           +s                     0.00

         9g. Total. Add lines 9a through 9f.                                                                 $             38.297.00 I




Official Fonn 106Sum       Summary of Your Assets and Liabilities and Certain Statistical Information                                           page 2 of2
          Case 1:19-bk-11222                        Doc 1          Filed 04/05/19 Entered 04/05/19 15:19:29                               Desc Main
                                                                  Document      Page 11 of 61




                                                --
Fill 1n this information to 1dent1fy your case and th,s fi1•1g


Debtor 1
                   ..........
                   Tawanda                    LaShawn                    Luckey
                                                                          LastNane


Debtor 2
(Spouse, W filing) First Nano                   MiddleName                Last Name



United States Bankruptcy Court for the: Southern District of Ohio


                                                                                                                                               □ Check
Cssenumber
                                                                                                                                                      if this is an
                                                                                                                                                 amended filing

Official Form 106A/8
Schedule A/B: Property                                                                                                                                     12/15

In each category, separately list and describe items. List an asset only once. If an asset flls in IIIOl9 than one calllgory, list the asset in the
category where you think it flls best Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct infonnation. If more space is needed, attach a separate sheet to this fomL On the top of any additional pages,
write your name and case number (if known). Answer every question.

              Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   liZi   No. Go to Part 2.
   0 Yes. Where is the property?
                                                                    What is the property? Check al that apply.        Do not deduct seaired daims or �ons. Put
                                                                    0 Single-family home                              the amount or any secured daims on Schedule D:
     1.1.                                                                                                             Ctedtots Who Have Claims Secured by Properly.
                                                                    0 Duplex or multi-unit building
            Street address. if available, or Olher description
                                                                    0 Condominium or cooperative                      Current value of the      Current value of the
                                                                    0 Manufactured or mobile home                     entire property?          portion you own?
                                                                    □ Land                                            $______
                                                                                                                       .     _                  $.______
                                                                    0 Investment property
                                                                    0 Timeshare                                       Describe the nature of your ownership
            City                            State      ZIP Code
                                                                    □ Other ___________                               inlerest (such as fee simple, tenancy by
                                                                                                                      the entireties, or a life estate), if known.
                                                                    Who has an Interest in the property? Check one.
                                                                    0 Debtor 1 only
            County                                                  0 Debtor 2 only
                                                                    0 Debtor 1 and Debtor 2 only                      0 Check if this Is community property
                                                                                                                          (see instructions)
                                                                    0 At least one of the debtors and another
                                                                    Other infonnation you wish to add about this item, such as local
                                                                    property identiflcation number: _____________
   If you own or have more lhan one, fist here:
                                                                   What Is the property? Check all that apply.

     1.2.
                                                                   □ Single-family home                               Do not deduct seaired daims or exemptions. Put
                                                                                                                      the amount cl any secured daims on Schedue D:
                                                                                                                      Credtors Who Have Claims Secured by Properly.
                                                                   0 Duplex or multi-unit building
            Street address, if available, or other description
                                                                   0 Condominium or cooperative                       Current value of the      Current value of the
                                                                   0 Manufactured or mobile home                      entire property?          portion you own?
                                                                   □ Land                                             $_______                  $,_______
                                                                   0 Investment property
                                                                   0 Timeshare                                        Describe the nature of your ownership
            City                            State     ZIP Code
                                                                   □ Other ___________                                interest (such as fee simple, tenancy by
                                                                                                                      the entireties, or a life estate), if known.
                                                                   Who has an inlerest in the property? Check ooe.
                                                                   0 Debtor 1 only
                                                                   0 Debtor 2 only
                                                                                                                      □
            County
                                                                   0 Debtor 1 and Debtor 2 only                           Check if this Is community property
                                                                   0 At least one of the debtors and another              (see instructions)

                                                                   Other infonnation you wish to add about this item, such as local
                                                                   property identification number: _____________


Official Form 106A/B                                               Schedule A/B: Property                                                             page 1
       Case 1:19-bk-11222                           Doc 1         Filed 04/05/19 Entered 04/05/19 15:19:29                                 Desc Main
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 Debtor 1          Tawanda                   Lashawn                      Luckey                          Casenumber11-�.,,______________
                    FilslName     -Name                  LaslName




                                                                    What is the property? Check all that apply.
                                                                    □ Single-family home
                                                                                                                      Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount d any secured claims on Schedde D:
     1.3.                                                                                                             Creators Who Have Claims Secured by Property.
            Street address. if available. or other description      D Duplex or multi-unit building
                                                                    □ Condominium or rooperalNe                       Current value of the      Current value of the
                                                                    □ Manufactured or mobile home                     entire property?          portion you own?

                                                                    □ Land                                            $_______                 $_______
                                                                    □ Investment property
            City                            State     ZIP Code      □ Timeshare                                       Describe the nature of your ownership
                                                                    □ Other___________                                interast (such as fee simple, tenancy by
                                                                                                                      the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    □ Debtor 1 only
            County
                                                                    □ Debtor 2 only
                                                                    □ Debtor 1 and Debtor 2 only                      □ Check    if this is community property
                                                                    □ At least one of the debtors and anolher             (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number: _____________




fifj         Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registared or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executo,y Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   □ No
   Iii Yes
   3.1.     Make:                       chrysler                    Who has an Interest in the property? Check one.   Do not deduct secured daims or exemptions. Put
                                        sebring                     '21 Debtor 1 only                                 the amount d any secured daims on Schedde D:
            Model:
            Year:                       2010                        □ Debtor 2 only                                   Ctedlor.; Who Have Claims Secured by Property.

                                                                    D Debtor 1 and Debtor 2 only                      Current value of the     Current value of the
            Approximate mileage:        151837                      D At least one of the debtors and anothef"        entire property?         portion you own?

            Other infonnation:
                                                                    □ Check if this Is community property (see        $         8,750.00       $-------
                                                                       instructions)



   If you own or have more than one. describe here:

                                                                    Who has an interest in the property? Check one.   Do not deduct secured daims or exemptions. Put
   3 .2.    Make:
                                                                    □ Debtor 1 only                                   the amount d any secured claims on Schedde D:
            Model:
                                                                    □ Debtor 2 only                                   Creators Who Have Claims Secured by Property .
            Year:
                                                                    □ Debtor 1 and Debtor 2 only                      Current value of the     Current value of the
            Approximate mileage:                                    □ At least one of the debtors and anolher         entire property?         portion you own?

            Other infonnation:
                                                                    □ Check if this is community property (see        $_______                 $______
                                                                       instructions)




Official Fonn 106AIB                                                Schedule A/B: Property                                                             page2
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                                 --
                                                          Document      Page 13 of 61
 Debtor 1       Tawanda               LaShawn                       Luckey                          Casenumber(I-):..._____________
                                                  last Name




    3.3.    Make:                                             Who has an interest In the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                              □ Debtor 1 only                                   1he amount d any secured claims on Schedt.'8 D:
                                                              □ Debtor 2 only
            Model:                                                                                              Credto,s Who Have Claims Secured by Property.
            Year:
                                                              □ Debtor 1 and Debtor 2 only                      Current value of the Current value of the
                                                                                                                entire property?     portion you own?
            Approximate mileage:                              D At least one of the debtors and another
            Other information:
                                                              □ Check if this is community property (see        $._______ $._______
                                                                  instructions)

    3.4.    Make:                                             Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                              D Debtor 1 only                                   the amount of any secured daims on Schedule D:
                                                              □ Debtor 2 only
            Model:                                                                                              Crecftors Who Have Claims Secured by Property.
            Year:
                                                              □ Debtor 1 and Debtor 2 only                      Current value of the Current value of the
                                                                                                                entire property?     portion you own?
            Approximate mileage:                              D At least one of the debtors and another
            Other information:
                                                              D Check if this is community property (see        $ _______ $._______
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal wateraafl. fishing \leSSels, snowmobiles, motorcycle accessories
   � No
   □ Yes

   4.1. Make:                                                 Who has an interest in the property? Check one.   Do not deduct secured daims or exemptions. Put

            Model:                                            □ Debtor 1 only                                   1he amount d any secured claims on SchemMt D:
                                                                                                                Crecftots Who Have Claims Secured by Property.
            Year:
                                                              D Debtor 2 only
                                                              D Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
            Other information:                                D At least one of the debtors and another         entire property?          portion you own?

                                                              □ Check if this is community property (see        $._______ $._______
                                                                  instructions)


   If you own or have more than one, list here:

   4.2. Make:                                                 Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                              □ Debtor 1 only
                                                                                                                1he amount d any secured daims on Schedk D:
            Model:
            Year:
                                                              □ Debtor 2 only                                   Crecftots Who Have Claims Secured by Property.

                                                              D Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
            Other information:                                □ At least one of the debtors and another         entire property?          portion you own?


                                                              Q Check if this is COIIBIIURity property (see     $ _______ $._______
                                                                instructions)




Official Form 106NB                                           Schedule A/8: Property                                                             page3
       Case 1:19-bk-11222                       Doc 1      Filed 04/05/19 Entered 04/05/19 15:19:29                        Desc Main
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 Debtor 1      Tawanda                        Lashawn             Luckey                         Casenum11er,,-1,_____________
                 FntName           MoleName        LaslName




1111         Describe Y-r Personal and Household Items

Do you own or have any legal or equitable mteNst in any of the following Hams?                                            Current va1.. of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptioos.
6. Household goods and furnishings
   Examples-. Major appliances, furniture, linens, china, kitchenware
   0 No
   � Yes. Desaibe. ........ household goods, furnishings                                                                   $       1,000.00
                                                                                                                               -----'----
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   □ No
   � Yes. Desaibe.......... television, canon printer, dell laptop samsung cell phone                                      $·--------
                                                                                                                                  750.00

B. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwort; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   �No
   0 Yes. Desaibe..........                                                                                                $       0.00
                                                                                                                             --------
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   �No
   0 Yes. Desaibe..........                                                                                                $ --------
                                                                                                                                   0.00

10. Flreanns
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   �No
   □Yes. Desaibe..........                                                                                                 $ --------
                                                                                                                                   0.00

11.Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   □ No
   � Yes. Desaibe. ......... clothes, shoes                                                                                s____3_ o_o _.o_o

12.J-elry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   �No
   0 Yes. Desaibe...........                                                                                               $.________

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

   �No
   0 Yes. Desaibe...........                                                                                               $________

14. Any other personal and household items you did not already list, including any health aids you did not list
   �No
   0 Yes. Give specific
                                                                                                                           $________
     information. ..............




Official Form 106NB                                           Schedule A/8: Property                                                   page4
       Case 1:19-bk-11222                                             Doc 1                Filed 04/05/19 Entered 04/05/19 15:19:29                                                                         Desc Main
                                                                                          Document      Page 15 of 61
 Debtor 1           Tawanda                                   Lashawn                                  Luckey                                               Case number<,,.,_,�-------------
                      FostName                Middle Name                      ,_Name




1¥11            Describe Your Fi-ncial Assets

Do you own or have any legal or equitable intenlst in any of lhe following?                                                                                                                                Cunent value of lhe
                                                                                                                                                                                                           portion you own?
                                                                                                                                                                                                           Do not deduct secured claims
                                                                                                                                                                                                           or exemptions.

16.Cash
   Examples: Money you have in your wallet. in your home, in a safe deposit box, and on hand when you file your petition

   ijl No
   □ Yes ................................................................................................................................................................   Cash:.......................    s_____o._o_o

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in aedit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.
   □ No
   '21 Yes .....................                                                                 Institution name:


                                              11.1. Checking account                              bank of america                                                                                           $               300.00
                                              17.2. Checking account                                                                                                                                        $

                                              17.3. Savings account:                                                                                                                                        $

                                              17.4. Savings account                                                                                                                                         $

                                              17.5. Certificates of deposit:                                                                                                                                $

                                              17.6. Other financial account                                                                                                                                 $

                                              17.7. Other financial account:                                                                                                                                $

                                              17.8. Other financial account:                                                                                                                                $

                                              11.9. Other financial account:                                                                                                                                $




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   � No
   □ Yes .................                    Institution or issuer name:

                                                                                                                                                                                                            $________
                                                                                                                                                                                                            $.________

                                                                                                                                                                                                            $.________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
   � No                                       Name of entity:                                                                                                               % of ownership:
   □ Yes. Give specific                                                                                                                                                      0 '¾ o
                                                                                                                                                                            _ _ _ _ __%                     $________
                                                                                                                                                                            ----""
        information about
        them.........................
                                                                                                                                                                            0%
                                                                                                                                                                                                            $________
                                                                                                                                                                            _0%
                                                                                                                                                                              _ ___%                        $________




Official Form 106A/B                                                                           Schedule A/B: Property                                                                                                   pages
        Case 1:19-bk-11222                              Doc 1           Filed 04/05/19 Entered 04/05/19 15:19:29                   Desc Main


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                                                                       Document      Page 16 of 61
 Debtor1           Tawanda                          Lashawn                     Luckey              Case number1,.,_,,,______________
                                                                LastNane




20. Government and corporate bonds and other negotiable and non-negotiable insb'uments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

    liZI No
    0 Yes. Give specific                Issuer name:
         information about
         them...................... .                                                                                                  $.________

                                                                                                                                       $.________
                                                                                                                                       $.________


21. Retirement or pension accounts
    Examples: Interests in IRA. ERISA, Keogh, 401 (k), 403(b), thrill savings accounls, or other pension or profit-sharing plans
    liZI No
    □ Yes. List each
         account separately. Type of account:                     Institution name:

                                        401(k)orsimiarplan: ________________________                                                   $ ________

                                        Pension plan:             ________________________                                             $.________
                                        IRA:                      ________________________                                             $.________
                                        Retirement account:       ________________________                                             $ ________

                                        Keogh:                                                                                         $._            _
                                        Additional account:                              -
                                                                  ________________________                                             $ ________
                                        Additional account:       ________________________                                             $.________

                                                                                                      ---
22. Security deposits and prepayments                                                                                                        ____
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others                            ------------                                                 ---
    !;it No
   □ Yes..........................                            Institution name or individual:
                                        Efeclric:
                                                                                                                                   $
                                        Gas:                      -
                                                                                                                                   $
                                        Healing oil:
                                                                                                                                   $
                                        Security deposit on rental unit: _.._e_s_____________________                                            850.00
                                                                                                                                   $
                                        Prepaid rent
                                                                                                                                   $
                                        Telephone:
                                                                                                                                   $
                                        Waler:
                                                                                                                                   $
                                        Renled furniture:
                                                                                                                                   $
                                        Other:
                                                                                                                                   $


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   liZI No
   0 Yes..........................      Issuer name and desaiption:

                                                                                                                                   $._______
                                                                                                                                   $ ________
                                                                                                                                   $. ________

Official Form 106A/B                                                       Schedule AIB: Property                                             page&
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 Debtor 1        Tawanda                            LaShawn                  Luckey                          Casenumber(I-),______________



24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified s1al8 tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   liZl No
   O   Yes ·························•··········   Institution name and desaiption. Separately file 1he records of any interests.11 U.S.C. § 521(c):


                                                                                                                                                      $_______

                                                                                                                                                      $ _______
                                                                                                                                                      $._______


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   liZl No
   0 Yes. Give specific
     information about them....                                                                                                                       $'---------


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   liZl No
   0 Yes. Give specific
     information about lhem....                                                                                                                       $.________


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   liZl No
   0 Yes. Give specific
     information about them....                                                                                                                       $ ________


Money or property owed to you?                                                                                                                        Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.

28. Tax refunds owed to you
   liZl No
   0 Yes. Give specific informa tion                                                                                        Federal:             $ _______
          about them, including whelher
          you already filed the returns                                                                                     Stale:               $ _______
          and the tax years. .......................
                                                                                                                            Local:               $._______


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   liZl No
   0 Yes. Give specific information............. .
                                                                                                                           Alimony:                   $
                                                                                                                           Maintenance:               $
                                                                                                                           Support                    $
                                                                                                                           Divorce settlement:        $
                                                                                                                           Property selllement        $

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   liZl No
   0 Yes. Give specific information...............
                                                                                                                                                      $'---------



Official Form 106NB                                                      Schedule A/B: Property                                                                page7
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                                 --
                                                             Document      Page 18 of 61
 Debtor 1       Tawanda                    LaShawn                   Luckey                             Case number(.._'--------------
                 RostName                             LastName




31. ln1eres1s in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); aedit, homeowner's, or renter's insurance
    liZI No
    0 Yes. Name the insurance company             Company name:                                            Beneficiary:                            Surrender or refund value:
           of each policy and list its value. ...
                                                                                                                                                   $________
                                                                                                                                                   $________
                                                                                                                                                   $________
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
    �No
    0 Yes. Give specific information..............
                                                                                                                                                   $
                                                                                                                                                    ________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    � No
    0 Yes. Desaibe each daim.....................
                                                                                                                                                   $.________
34. Other contingent and unllquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
    �No
    0 Yes. Desaibe each claim. ....................
                                                                                                                                                   $
                                                                                                                                                    ________




35. Any financial assets you did not already list

    �No
    0 Yes. Give specific information ........... .
                                                                                                                                                   $________




              Describe Any Business-Related Property You Own or Have an Interest In. Ust any real estate In Part 1.

37. Do you own or have any legal or equitable in1erest in any business-relaled property?
    □ No. Go to Part 6.
    0 Yes. Go to line 38.
                                                                                                                                                 Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured daims
                                                                                                                                                 or exemptions.

38. Accounts receivable or commissions you already earned
    0 No
   0 Yes. Desaibe...... .
                                                                                                                                                 $________
39. Office equipment, furnishings, and supplies
    Examples: Business-related compulels, sollwae, modems, printer.s, copiers, fax madines, rugs, telephones. desks, chairs, eledronic devices
   0 No
   0 Yes. Desaibe ...... .
                                                                                                                                                 $_________



Official Form 106A/B                                             Schedule A/8: Property                                                                       page8
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                                         --
                                                                    Document      Page 19 of 61
 Debtor 1         Tawanda                          LaShawn                  Luckey               Case number"c.,.,_,l____________
                                                                                                                     ,           _
                                                            l.allNane




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   Gif No
    □ Yes. Describe .......                                                                                                 $.________


41. Inventory
   !;I No
   □ Yes. Describe .......                                                                                                  $,________


42. Interests in partnerships or joint ventures
   Ga No
   □ Yes. Desaibe.------                Name of entity:                                                  % of ownership:
                                                                                                         ___%               $.________
                                                                                                         ___ %              $. ________
                                                                                                         ___%              $.________

43. Customer lists, mailing lists, or other compilations
    !;I No
   □ Yes. Do your lists nclude personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                                    i

          □ No
          □ Yes. Describe.------·
                                                                                                                               $.________


44.Any business-related property you did not already list
   !;I No
   □ Yes. Give specific                                                                                                        $.________
          infonnation .........
                                                                                                                               $.________

                                                                                                                               $.________

                                                                                                                               $.________

                                                                                                                               $.________

                                                                                                                           _
                                                                                                                           s·:.-::.-::.-::.-::.-::.-::.-::.-::.-::.-::.-::.-::.-::.-::.-=.

45. Z! P:
          d

               :.��teV:':           �=:�::�.�.�.��·�-'--:. � ��.��.1..��.��.�--1.�.°..�.��-------------- �
                                                                             i   i
                                                                                                                           I
                                                                                                                               s._______o _.o_o_,

                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an lntentst In.
                If you own or have an interest In farmland, list it in Part 1.


46. Do you own or have any legal or equitable in1enlst in any farm- or commercial fishlng-ntlated property?
   Ga No. Go to Part 7.
   □ Yes. Go to line 47.
                                                                                                                           Cum,nt value of the
                                                                                                                           portion you own?
                                                                                                                           Do not deduct secured daims
                                                                                                                           or exemptions.
47. Fann animals
   Examples: Livestock, poultry, fann-raised fish
   (;j(   No
   □ Yes----------------·--------
                                                                                                                               $.________



Official Fonn 106A/B                                                    Schedule AIB: Property                                                         page9
             Case 1:19-bk-11222                                    Doc 1               Filed 04/05/19 Entered 04/05/19 15:19:29                                                                               Desc Main


                                              --
                                                                                      Document      Page 20 of 61
  Debtor 1            Tawanda
                        FntName
                                                            LaShawn
                                                                            LastName
                                                                                                  Luckey                                            Case   number,,_,___________
                                                                                                                                                                     .          _
 48. Crops--either growing or harvested
      liZI   No
      □ Yes. Give specific
             information.............                                                                                                                                                                          $_______

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      liZI
        No
     0 Yes ..........................

                                                                                                                                                                                                               $_______

 50. Farm and fishing supplies, chemicals, and feed
      liZI
        No
      0 Yes ..........................
                                                                                                                                                                                                              $______
                                                                                                                                                                                                               .     _

 51. Any fann- and commercial fishing-related property you did not already list
     liZI    No
     0 Yes. Give specific
       infonnation. ............                                                                                                                                                                              $_______




                    Describe All Property You Own or Have an Interest In That You Did Not List Above

 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, count,y club membefship
     liZI
       No
                                                                                                                                                                                                               $______
     0 Yes. Give specific
       infonnation. ............                                                                                                                                                                               $______
                                                                                                                                                                                                               $______


 54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                          -+             $------
                                                                                                                                                                                                                     .       0 00




•§•=¥ List                   the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 .............................................................................................................................................................. ,+       $_____0 .00

                                                                                                                  s  s. 1s o. oo                                                                                          ___
 56. Part 2: Total vehicles, line 5                                                                                ___
                                                                                                                         _ 5_ 0.
                                                                                                                      2, 0     _ 0_ _ 0
57. Part 3: Total personal and household items, line 15                                                           $.___

58. Part 4: Total financial assets, line 36                                                                       s   1 ,1_ s_ o._ oo
                                                                                                                                    _ _
                                                                                                                   __

                                                                                                                  s_             _ _ _ _o. o_ o_
59. Part 5: Total business-related property, line 45                                                                                     _ _

                                                                                                                          ___0                  _
60. Part 6: Total farm- and fishing-related property, line 52                                                     $ ------
                                                                                                                         .                    00



61. Part 7: Total other property not listed, line 54                                                          +$    ------
                                                                                                                         .                0 00



62. Total personal property. Add lines 56 through 61 •....................                                        $
                                                                                                                               11, 950 . 0 0
                                                                                                                                                     Copy personal property total ,+                      +$-------
                                                                                                                                                                                                              11, 0.0   95        0




63. Total of all property on Schedule AIB. Add line 55 + line 62. .........................................................................................                                                   s   11, 9s o. oo
                                                                                                                                                                                                               _ __
                                                                                                                                                                                                          I           _ _ _ _ _

 Official Form 106A/B                                                                     Schedule AIB: Property                                                                                                      page 10
     Case 1:19-bk-11222                     Doc 1           Filed 04/05/19 Entered 04/05/19 15:19:29                                  Desc Main
                                                           Document      Page 21 of 61




                    --                       --
  Fill in this 1nformat1011 to 1dent1fy 1our case


                                                                       .__ ......
  Debtor 1         Tawanda                  LaShawn                  Luckey

  Debtor2
  (Spouse, W fifing) Fkst Name               Middle Name               Last Name


  Umed Stales Bankruptcy Court for the: Southern District of Ohio
  Case number
  (lfkn<Mn)
                                                                                                                                         0 Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                           04/16

Be as complete and accurate as possible. If two married people are filing together, both are equaRy responsible for supplying correct information.
Using the property you listed on Schedule AIB: Property (Official Fonn 106A/B) as your source. list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (If known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to s1ate a
specific dollar amount as exempt. Alternatively, you may claim the ful fair market value of the property being exempted up to the amount
of any applicable statutory limit Some exemptions-.uch as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, If you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


•ifI            Identify the Property You Claim as Exempt

 1. Which set of exemptio11s ara you claiming? Check one only, even if your spouse is filing with you.
      lid' You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      □ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule AIB that you claim as exempt, fill in the infonnalion below.

       Brief description of the property and line on       Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
       Schedule AIB that lists this property               portion you own
                                                           Copy the value from      Check only one box for each exemption.
                                                           Schedule AIB

      Brief
      desaiption:           household goods                $2,050.00                □ $ ___                                  2329.66(a)(4)(b)
      Linefrom                                                                      � 100% of fair market value, up to
      Schedule AIB:          l                                                        any applicable statutory limit

      Brief
      desaiption:           clothes shoes                  $300.00                  □ s ____                                 2329.55(a)(18)
      Linefrom                                                                      � 100% offair market value, up to
                            --11._                                                    any applicable statutory limit
      Schedule AIB:
      Brief
      desaiption:           bank of america                $300.00                  □ s ____                                 2329.66(a}(4}(a)
      Linefrom                                                                      ijl 100% of fair market value, up to
      Schedule AIB: .11...L.                                                            any applicable statutory limit

 3. Ant you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01119 and every 3 years after that for cases filed on or after the date of adjustment.)
     lif No
     □ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       □ No
          □      Yes


Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                          page 1 of_
     Case 1:19-bk-11222                      Doc 1      Filed 04/05/19 Entered 04/05/19 15:19:29                               Desc Main
                                                       Document      Page 22 of 61

Debtor 1      Tawanda                       LaShawn              Luckey                     Casenumber(if-l,_ ____________
              Fnt Name        Mickle Name       Last Name




•Iii         Addffional Page

      Brief description of the property and line       Cunent value of the   Amount of the exemption you claim        Specific laws that allow exemption
      OIi Schedule A/8 that lisls this property        portion you own
                                                       Copy the value from   Check only one box for each exemption
                                                        Schedule AIB

     Brief
                         rent deposit                   s.____.:;8:..:;5-=-     o Os ___ _
                                                                        o•:..:;o-=-                                  2329.66(a)(4)(a)
     description:
     Line from           22                                                  !;I' 100% of fair market value, up to
     Schedule AIB:                                                                any applicable statutory limit

     Brief                                                                   0$ ____
     desaiption:                                        $.______
     Line from                                                               0 100% of fair market value, up to
     Schedule AIB:                                                             any applicable statutory limit


     Brief
     description:                                       $. ______            Os ____
                                                                             0 100% of fair market value, up to
     Line from
     Schedule AIB:                                                             any applicable statutory Hmit

     Brief                                                                   0$ ____
     desaiption:                                        $.______
     Line from                                                               0 100% of fair market value, up to
     Schedule AIB:                                                             any applicable statutory limit

     Brief
     desaiption:                                        $.______             Os ____
                                                                             0 100% of fair market value, up to
     Line from
     Schedule AIB:                                                             any applicable statutory limit


     Brief
     description:                                       $. ______            Os ____
                                                                             0 100% of fair market value, up to
     Line from
     Schedule AIB:                                                             any applicable statutory limit

     Brief
     description:                                       $_____
                                                         ,    _              Os ____
     Line from                                                               0 100% of fair market value, up to
     Schedule AIB:                                                             any applicable statutory limit


                                                        $,______ Os ____
     Brief
     desaiption:
     Line from                                                               0 100% of fair market value, up to
     Schedule AIB:                                                             any applicable statutory limit


     Brief                                                                   0$ ____
     desaiption:                                        $,_______
     Line from                                                               0 100% of fair market value, up to
     Schedule AIB:                                                             any applicable statutory limit

     Brief
     description:                                       $, ______            Os ____
     Line from                                                               0 100% of fair market value, up to
     Schedule AIB:
                                                                               any applicable statutory limit

     Brief
     description:                                       $.______             Os ____
                                                                             0 100% of fair market value, up to
     Line from
     Schedule AIB:
                                                                               any applicable statutory limit


     Brief
     description:                                       $______              Os ____
                                                                             0 100% of fair market value, up to
     Line from
     Schedule AIB:                                                             any applicable statutory limit


Official Fonn 106C                                    Schedule C: The Property You Claim as Exempt                                    pageLot_
         Case 1:19-bk-11222                     Doc 1          Filed 04/05/19 Entered 04/05/19 15:19:29                                         Desc Main
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                                               --
  Fill 1n this 1nforrnat1on to 1dent1fy your case

  Debtor 1         Tawanda                     LaShawn                  Luckey
                    FntName                                               LastName

  Debtor2
  (Spouse, W filing) Fnt Name                  MiddJeName                 Last Name


  Umed States Bankruptcy Court for the: Southern Dislrict of Ohio


                                                                                                                                                   □ Check if this is an
                                                                                                                                                      amended filing

  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15

  Be as complete and accurate as possible. If two manied people are fling together, both are equally responsible for supplying correct
  infonnation. If more space is needed, copy the Additional Page, fill It out, number the entries, and attach It to this form. On the top of any
  additional pages, write your name and case number (If known).

 1. Do any creditors have claims secured by your property?
     □ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    Iii'
       Yes. FIii in all of the information below.


1¥11            Ust All Secured Claims
                                                                                                                      Column A             Column B                  Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                   Value of collateral       Unsecured
    for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                that supports this        portion
    As much as possible, list the claims in alphabetical Older according to the creditor's name.          value of collateral.             claim                     If any

(]] First Investors                                    Describe the property that secures the claim:                  $    10,009.60       $                     $
     Crecillw'sName
         380 Interstate North Parkway                 2010 chrysler sebring 151837
     Nllllber        Street
                                                       As of the date you file, the claim is: Chedc all that apply.
                                                       0 Contingent
       Atlanta                  Ga 30339               □ Untiquidaled
     City                       s- ZIPCode             □ Disputed
   Who owes the debt? Check one.                       Nature of lien. Check all that apply.
   l;i   Debtor 1 only                                 0 An agreement you made (such as mortgage or secured
   □ Debtor2 only                                           car loan)
   0 Debtor 1 and Debtor 2 only                        0 Statutory lien (such as tax lien, mechanic's lien)
   0 At least one of the debtors and another           0 Judgment lien from a lawsm
                                                       0 Other (including a right to offset)
   □ Check if this claim relates to a
     community debt
  Date debt was incurred                               Last 4 digits of account number _ ___
                                                       Describe the property that secures the claim:                  $                    $                     $
     0-sName

     Number          Street




                                -
                                                      As of the date you file, the claim is: Chedcall that apply.
                                                       □ Contingent
                                                       □ Unliquidaled
     City                             ZIPCode          □ Disputed
  Who owes the debt? Check one.                        Nature of lien. Check all that apply.
   □ Debtor 1 only                                     0 An agreement you made (such as mortgage or secured
   □ Debtor2 only                                        ca-loan)
   0 Debtor 1 and Debtor 2 only                        0 Slatutory lien (such as tax lien, mechanic's lien)
   0 At least one of the debtors and another           □ Judgment lien from a lawsm
                                                       0 Other (including a right to offset)
  □  Check if this claim relates to a
     co mmunity debt


                                                                                                                                       I
  Date debt was incurred                              Last 4 digits of account number _ ___
     Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                      �    l0,009 60

 Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of_
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Oeblor1                      Tawanda
                             Fntllame   --            LaShawn
                                                             Lastllame
                                                                              Luckey                                  Casenumber�--n•�-------------


                      Additional Page                                                                                          Column A                   ColumnB                   ColumnC
                                                                                                                               Amount of claim            Value of collateral       Unsecured
                      After listing any enbies on this page, number them beginning with 2.3, followed                                                     that supports this        portion
                                                                                                                               Do not deduct the
                      by 2.4, and so forth.                                                                                    value of oollaleral.       claim                     If any

                                                             Describe the propertythat secun!S the claim:                  $                              $                     $



    Number


                                                            As of the date you file, the claim is: Check all that apply.
                                                             □ Contingent
    City                                State    ZIP Code    0 Unliquidated
                                                             □ Disputed
 Who owes the debt? Check one .                             Nature of lien. Check all that apply.
 0       Debtor 1 only                                      0    An agreement you made (such as mortgage or secured
 0       Debtor 2 only                                           car loan)
 0       Debtor 1 and Debtor 2 only                         0    Statutoiy lien (such as tax fien, mechanic's lien)
 0       At least one of the debtors and another            0    Judgment lien from a lawsuit
                                                            0    Other (including a right to offset) _______
 0       Check if this claim relates ID a
         community debt




□
 Date debt was incurred _____                               Last 4 digits of account number____


                                                            Describe the property that secures the claim:                  $ ______ $._ _____ $ _ _ __
    -=-
    c:i  ""1o1
        eci --,-,s..,.,
                     ,------------
                  Name



    Number                    Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                            0    Contingent
                                                            0    Unliquidaled
    City                                Stale    ZIP Code
                                                            □ Disputed
 Who owes the debt? Check one.
                                                            Nature of lien. Check all that apply.
 0       Debtor 1 only
                                                            0    An agreement you made (such as mortgage or sea.ired
 0       Debtor 2 only                                           car loan)
 0       Debtor 1 and Debtor 2 only                         0    Statutory lien (such as tax lien, mechanic's lien)
 0       At least one of the debtors and another            0    Judgment lien from a lawstat

 0       Check if this claim relates ID a
                                                            0    Other (including a right to offset) _____ __
         community debt




□
 Date debt was incurred _____                               Last 4 digits of account number____



    -=---=,....,...,s..,.,,------------
                                                            Describe the property that secures the claim:                  $.___ ___ $______
                                                                                                                                      .      $ ___
                                                                                                                                               .  _
    c,       ..,.     -..e



    Numbe<                    Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            □ Contingent
   City                                 Stale    ZIP Code   □ Unliquidated
                                                            0    Disputed
 Who owes the debt? Check one.                              Nature of lien. Check all that apply.
 0       Debtor 1 only                                      0    An agreement you made (such as mortgage or sea.ired
 0       Debtor 2 only                                           car loan)
 0       Debtor 1 and Debtor 2 only                         0    Statutoiy lien (such as tax fien, mechanic's lien)
 0       At least one of the debtors and another            0   Judgment lien from a lawstat
                                                            0    Other (induding a right to offset) _______
 0       Check if this claim relates ID a
         community debt
 Date debt was incurred _____                               Last 4 digits of account number____

                                                                                                                                1 , .6
              Add the dolar value of your entries in Column A on this page. Write that number here:
                                                                                                                           ..:======.
                                                                                                                           $
                                                                                                                                       0 009          0

             If this is the last page of your fonn, add the dollar value totals from all pages.
                                                                                                                           b          1 0. 009 .60 1
             Write that number here:

Official Form 106D                              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page_of_
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 Debtor 1       Tawanda
                FntName      --        Lashawn
                                                LaName
                                                                Luckey                         Casenumber1.-.,_,l,_____________


•@fW            List Others to Be Notified for a Debt That You Al..-dy Listed

  Use this page only if you have olhers to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency Is trying to coUect from you for a debt you owe to someone else. list the creditor in Part 1, and then list the collaction agency here. Similarly, If
  you have more than one credilor for any of the debls that you listed In Part 1, Nst the additional cred'itors here. If you do not have additional persons to



□ -------------------------
  be notified for any debts In Part 1, do not fill out or submit this page.

                                                                                          On which line in Part 1 did you enter the creditor? __
       Name                                                                               Last 4 digits of account number____


       Number      Street




□ -------------------------
       City                                        State          ZIPCode

                                                                                          On which line in Part 1 did you enter the creditor? __

                                                                                          Last 4 digits of account number ____


       Number      Street




□
      City                                         State          ZIPCode

                                                                                          On which line in Part 1 did you enter the creditor? __
       Name                                                                               Last 4 digits of account number____


       Number      Street




□
      City                                         State          ZIP Code

                                                                                          On which line in Part 1 did you enter the cn!ditor? __
       Name                                                                               Last 4 digits of account number ____


       Number      Street




      City                                        State           ZIP Code


      -------------------------
      Name
                                                                                          On which line in Part 1 did you enter the crecfdor? __
                                                                                          Last 4 digits of account number____


      Number       Street




□
      City                                                        ZIPCode

                                                                                         On which line in Part 1 did you enter the creditor?__
      Name                                                                               Last 4 digits of account number____


      Number       Street




      City                                        State           ZIPCode



Official Fonn 106D                       Part 2 of Schedule D: CRIClitors Who Have Claims SecuRICI by Property                             page_of_
           Case 1:19-bk-11222                     Doc 1         Filed 04/05/19 Entered 04/05/19 15:19:29                                      Desc Main
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                                                 --
      Fill In this 1r1format1on to 1dent1fy your case


      Debtor 1        Tawanda                   LaShawn                   Luckey
                        FntName                                            laslName

      Debtor2
      (Spouse, W filing) Fnt Name                Middte Name               Last Name




                                                                                                                                               □ Check if this is an
      Urited Stales Bankruptcy Court for the: Southern District of Ohio

      Case number
      (If-)                                                                                                                                        amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15

 Be as complele and accurate as possible. Use Part 1 for cnKlitors wilh PRIORITY claims and Part 2 for creditors wilh NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 AIB: Property (Official Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors wilh partially secured claims that are listed in Schedule D: Creattors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out. number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).


1111               Ust All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
        � No. Go to Part 2.
        □ ves.
 2. List all of your priority unsecured claims. If a aeditor has more than one priority unsea.ired claim, list the creditor separately for each claim. For
        each claim listed. identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the aeditor's name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one aeditor holds a partirular claim. list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                Total claim   Priority     Nonpriority



EJ
                                                                                                                                              amount       amount

                                                                 Last4dlgits of account number_ _ _ _                           $._____ $.____ $____
          _
          Pri_icll_rily_Q_eci_lDl_'s_Nane
                                     ___________
                                                                 When was the debt incurred?
          Number          Street
                                                                 As of the date you file, the claim is: Check all that apply
                                                                 □ Contingent
          City                          State    ZIP Code
                                                                 □ Unliquidaled
          Who incurred the debt? Check one.
          0 Debtor 1 only
                                                                 □ Disputed
          0 Debtor 2 only                                        Type of PRIORITY unsecured claim:
          0 Debtor 1 and Debtor 2 only
          0 At least one rlthe debtors and another
                                                                 □ Domestic support obligations
          □ Check H this claim is for a community debt           0 Taxes and certain other debts you awe the government
                                                                 0 Claims for death or personal injwy while you -re
                                                                     intoxicated
                                                                 □ Other. Specify ____________
          Is the claim subject to offset?
          □ No
          □ Yes
p.2
          --
       I,,,..,.....,,--=--�,.,.--------­                         Last4 digits of account number__ _ _                           $_____
                                                                                                                                 .     $. ____ $____
          Priority Creditor's Name
                                                                 When was the debt incurred?

                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 □ Contingent
          City                                   ZIPCode         □ Unliquidaled
          Who incurred the debt? Check one.                      □ Disputed
          0 Debtor 1 only
          □ Debtor 2 only
                                                                 Type of PRIORITY unsecured claim:
                                                                 0 Domestic support obligations
          0 Debtor 1 and Debtor 2 only
                                                                 0 Taxes and certain other debts you awe the government
          0 At. least one rlthe debtors and anolher
                                                                 0 Claims for death or personal injuly while you were
          0 Check if this claim is for a community debt              intoxicated
          Is the claim subject to offset?                        □ Other. Specify ___________
          □   No
          0 Yes


 Official Form 106E/F                                    Schedule Elf: Creditors Who Have Unsecured Claims                                           page 1 of_
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                                  --
                                                        Document      Page 27 of 61
 Debtor 1       Tawanda                 LaShawn                  Luckey                             Case number,,,.,,._,,______________
                                                 Last-...


•#HM             Your PRIORITY Unsecured Claims               Continuation Page

  After listing any entries on this page, number ttan beginning with 2.3, followed by 2.4, and so forth.                   Total claim   Priority   Noilpriority
                                                                                                                                                    amount

D
       --
                                                            Last4 cfigits of account number _ _ _ _                        $____ $____ $____
       Priority Creditor's Name

                                                            When was the debt incurred?

                                                            As of the date you file, the claim is: Check all that apply_

                                                            □ Contingent
      City                                  ZIPCode         0 Unliquidaled
                                                            0 Disputed
      Who incurred the debt? Check one_
      □ Debtor 1 any                                        Type of PRIORITY unsecured claim:
      0 Debtor 2 only
      0 Debtor 1 and Debtor 2 only
                                                            □ Domestic support obligations
                                                            0 Taxes and certain olher debts you owe the government
      0 At least one d the debtors and another
                                                            0 Claims for death or personal injury while you were
                                                              intoxicated
      0 Check if this claim Is for a community debt
                                                            □ Qlher _ Specify __________
      Is the claim subject to offset?
       □ No
       □ Yes
□     Priority Creditor's Name
                                                            Last4 digits of account number_ _ _ _                          Sc..____ $.____ $.____

                                                            When was the debt incurred?
                       StJeet
                                                            As of the date you file, the claim is: Check all that apply.

                                                            □ Contingent
      City                                  ZIPCode         □ Unliquidaled
                                                            0 Disputed
      Who Incurred the debt? Check one_
      □ Debtor 1 any                                        Type of PRIORITY unsecured claim:
      0 Debtor 2 only
      0 Debtor 1 and Debtor 2 only
                                                            □ Domestic support obligations
                                                            0 Taxes and certain olher debts you owe the govemment
      0 At least one d the deblors and anolher
                                                            0 Claims for death or personal injury while you were
      0 Check if this claim is for a community debt           intoxicated
                                                            □ Qlher_ Specify __________
      Is the claim subject to offset?
      □ No
□     □ Yes
      Priority Creditor's Name
                                                            Last 4 digits of account number _ _ _ _                        $____ $.____ $____

                                                            When was the debt incurred?
      Number          Streel

                                                            As of the date you file, the claim is: Check all that apply_

                                                            □ Contingent
      City                                  ZIPCode         0 Unliquidaled

      Wl\o incurred the debt? Check one_
                                                            □ Disputed
      0 Debtor 1 any                                        Type of PRIORITY unsecured claim:
      0 Debtor 2 only
                                                            0 Domestic support obligations
      0 Debtor 1 and Debtor 2 only
                                                            0 Taxes and certain other debts you owe the government
      0 At least one d the debtors and another              0 Claims for death or personal injury while you were
                                                              intoxicated
      0 Check if this claim is for a community debt
                                                            □ OU-_ Specify ___________
      Is the claim subject to offset?
      □ No
      □ Yes
Official Form 106E/F                             Schedule Elf: Cntditors Who Have Unsecured Claims                                                  page_of_
       Case 1:19-bk-11222                        Doc 1        Filed 04/05/19 Entered 04/05/19 15:19:29                                         Desc Main
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 Debtor 1        Tawanda                     Lashawn                   Luckey                       Case number1,,1cnown1,_____________
                  FntName            -Name            LastName




fifj            List All of Your NONPRIORITY Unsecured Claims

  3. Do any cntditora have nonpriorily unsecured clams against you?
     D No. You have nothing to report in this part. Submit this fonn to the court with your other schedules.
     !;aves

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a aeditor has more than one
     nonpriority unsecured daim, list the aeditor separately for each daim. For each daim listed, identify what type of daim it is. Do not list daims already
     induded in Part 1. If more than one aeditor holds a particular daim, list the other aeditors in Part 3.lf you have more than three nonpriority unserured
     daims fiD out the Continuation Page of Part 2.

                                                                                                                                                          Total claim
E] Credit One Bank                                                              Last 4 digits of account number�          _±_ _±_ _Q_
                                                                                                                                                      $_______     891.00
       Nonpriorily Creditor's Name

       PO Box98872                                                              When was the debt incurred?          08/04/2017
       Number         Slreet
       Las Vegas                                     NV           89193
                                                                 ZIPCode        As of the date you file, the claim is: Check all that apply.
                                                                                □ Contingent
       Who incurred the debt? Check one.                                        □ Unliquidaled
       ijl Debtor 1 only                                                        □ Disputed
       □   Debtor 2 only
       □   Debtor 1 and Debtor 2 only                                           Type of NONPRIORITY unsecured claim:
       □   At least one of the debtors and another                              □ Student loais
       □ Check if this claim is for a community debt                            □ Obligations arising out of a separation agreement or divorce
                                                                                  that you did not report as priority daims
       Is the claim subject to offset?                                          □ Debts to pension or profit--slaing plans, and Olher similar debts
       ijl No                                                                   lit Other. Specify _C__ll_edi_ t_ca_r_______
                                                                                                                     d      __
       □   Yes

� First Preimer Bank                                                            Last 4 digits of account number _£ __! _Q_ �                          $   1,110.00
                                                                                                                                                      ----""------
       Nonpriofily Crediror's Name                                              When was the debt Incurred?     07/20/2016
       3820 N. Louise
       Number         Street
       Sioux Falls                                   SD           57107         As of the date you file, the claim is: Check all that apply.
                                                                 ZIPCode
                                                                                □ Contingent
      Who incurred the debt? Check one.                                         □ Unliquidated
      ijl Oeblor 1 only                                                         □ Disputed
      □   Debtor 2 only
      □   Debtor 1 and Debtor 2 only
                                                                                Type of NONPRIORITY unsecured claim:
      □   Al least one of the debtors and another                               □ Student loais
      □ Check if this claim is for a community debt                             □ Obligations arising out of a separation agreement or divoo:e
                                                                                  that you did not report as priority daims
      Is the claim subject to offset?                                           □ Debts to pension or profit--slaing plans, and other similar debts
      □   No                                                                    □ Other.Specify _____________
      0 Yes
EJ Navient
      Nonpriorily Creditor's Name
                                                                                Last 4 digits of account number --2. _j_ _j_ _fi
                                                                                                                                                      $     38,297.00
                                                                                                                                                          ---'----
                                                                                When was the debt Incurred?           10/21/2005
       123 Justison Street 3rd Floor
      Numbe<          Street
       Wilmington                                    DE           19801         As of the date you file, the claim Is: Check all that apply.
      City                                                       ZJPCode
                                                                                □ Contingent
      Who Incurred the debt? Check one.
                                                                                □ Unliquidated
      l;a° Debtor 1 only
      □    Oeblor 2 only
                                                                                □ Disputed
      □    Debtor 1 and Debtor 2 only
      □    At least one of the debtors and another
                                                                                Type of NONPRIORITY unsecured claim:
                                                                                lit Student loais
      □ Check if this claim is for a community debt                             □ Obligations arising out of a separation agreement or divorce
                                                                                  that you did not report as priority daims
      Is the claim subject to offset?
                                                                                □ Debts to pension or profit--slaing plans, and Olher sinilar debts
      !;a' No
      D Yes
                                                                                □ Other. Specify _____________

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     Case 1:19-bk-11222                        Doc 1         Filed 04/05/19 Entered 04/05/19 15:19:29                                         Desc Main

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 Debtor 1        Tawanda             LaShawn        Luckey                                         Case number!i,_,>'--------------




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                  FntName                             l.astName


                 Your NONPRIORITY Unsecured Claims - Continuation Page




□
  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Tolal claim


                                                                                Last 4 digits of account number .l. _        � _!_ _1_                    s 10,009.§1
       First Investors attn:bankruptcy dept.
       Nonpriority Creditor's Name
                                                                                When was the debt incuned?              03/24/2012
       380 Interstate North Pkwy #300
       Number         Street
                                                                                As of the date you file, the claim is: Check all that apply.
       Atlanta                                      Ga             30339
       City                                                       ZIPCode       □ Contingent
                                                                                □ Unliquidaled
      Who incurred the debt? Check one.                                         □ Disputed
       � Debtor 1 ony
       □ Debtor 2 ony                                                           Type ofNONPRIORITY unsecured daim:
       0 Debtor 1 and Debtor 2 only
       0 At least one of the debtors and another
                                                                                □     Student loans
                                                                                0     Obligations arising out of a separation agreement or lhoo:e that
                                                                                      you did not report as priority daims
      0 Check If this claim is for a community debt
                                                                                0     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                           a'                      ut""o-'1-"-oa=nc..;._______
                                                                                      Other. Specify-'-a-'--
       �No
       □Yes




□      DirectTv
      Nonpriorily Creditor's Name
                                                                                Last 4 digits of account number

                                                                                Whe n was the debt incurred?
                                                                                                                       .l._ _Q_ .l_
                                                                                                                       06/01/2017
                                                                                                                                        Jl                s   620.19

       2230 E. Imperial
       Nt.mber        Street
                                                                                As of the date you file, the claim Is: Check all that apply.
       E/ Segundo                                  CA              90245
      City                                         State          ZIP Code      □ Contingent
                                                                                □ Unliquidaled
      Who incurred the debt? Check one.                                         □ Disputed
      l;i' Debtor 1 only
       □ Debtor 2 only                                                          Type ofNONPRIORITY unsecured daim:
      0 Debtor 1 and Debtor 2 only                                              D     Student loans
      0 At least one or the debtOIS and another                                 0     Obligations arising out of a separation agreement or lhoo:e that
      □ Check if this claim is for a community debt                             D
                                                                                      you lid oot report as priority daims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                           Iii   Other. Specify telecommunication
      a' No
      □ Yes
□     Time Warner Cable                                                        Last 4 digits of account number JL            Jl JL      _1_
                                                                                                                                                              881.00
                                                                                                                                                          $____

      Nonpriorily Creditor's Name
                                                                               When was the debt incurred?             04/03/2016
      60 Columbus Circle
      Number          Street
                                                                               As of the date you file, the claim Is: Check all that apply.
       New York                                    Ny              10023
      City                                                        ZIPCode       □     Contingent
                                                                                □ Unliquidated
      Who Incurred the debt? Check one.                                         □ Disputed
      (ijl" Debtor 1 ony
      D Debtor 2 only                                                          Type ofNONPRIORITY unsecured daim:
      0 Debtor 1 and Debtor 2 only
      0 At least one of the debtors and another
                                                                                □ Student loans
                                                                               0      Obligations arising out of a separation agreement or lhoo:e that
                                                                                      you did not report as priority daims
      0 Check If this claim is for a community debt
                                                                                0     Debts to pension or profit-sharing plans, and other sinilardebts
      Is the claim subject to offset?                                           Iii   ou-. Specify telecommunication
      Iii No
      □ Yes

Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  page_of_
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  OebtOf" 1         Tawanda                  LaShawn                   Luckey                          Casenumbert,.,_,l____________
                                                                                                                        ,           _


- Your NONPRIORITY Unsecured Clalms-Contlnaallon Page



  After listing any mdries on 1111s page, numberU-. beginning wilh 4.4, followed by 4.5, and so forth..                                                      Total claim



D
        - -
        Choice Recovery Inc                                                         tast4 digil!l or account number .1_          JL L �                         80.00
                                                                                                                                                             $___  _
        Nonpiomy Cieditol'sName
                                                                                    When was the debt incurred?             05/09/2018
        pobox20790
                                                                                    As of the date you file, the claim is: Check all that apply.
        Columbus                                       Oh          43220
                                                      Stale       ZJPCode           □ Ccnlingent
                                                                                    □ Unliquidated
        Who Incurred the debt? Check one.                                           □ Disputed
        l;jl'Oe1Jt«1on1y
        □    Debtor 2only                                                           Type ofNONPRIORITY unserured claim:
        □    Deblor 1 and Debtor 2 only                                             □ Student loans
        □    At least one of the debtois and anolh«                                 □ Obligalions arising out of a separation agreement Of" chorce that
        □ Check if this claim Is for a community debt                                    you did not report as priolity claims
                                                                                    □ Oel:Jts lo pension Of" profit-sharing plans. and other similar debts
        Is the dailll subject to offset?                                            wf Olhef. Specify    medical quaified
        lid' No
        □ Yes

D      Senex Service
       Nonprion!JC.-s Name
                                                                                    Last4 digits of account number         JL J!... � _1_                    s   119.00

                                                                                    When was the debt incurred?            08/2112015
        3333 founders rd 2nd fl
        Nnmbe,        �
                                                                                    As of the date you file, the claim Is: Check all thal apply.
        Indianapolis                                  In          46268
       City                                           State      ZIPCode            □ Contingent
                                                                                    □ Umquidated
       Who incum!dthedetlt? Oteekone.                                               □ Disputed
        � Debtor 1 only
        □ Oeblor2only                                                               Type ofNONPRIORITY unserured daim:
        □ Deb!Ot" 1 and Debtor 2 only                                               □ Student loans
       0 Al least one of the debto,s and another                                    □ Obligalions arising out of a separation agreement Of" dnion:e that
       □ Check ii this claim is for a COIIUffllllity debt                           Q
                                                                                      you did not report as priorily claims
                                                                                      Debts to pension Of" profit-sharing plans, and other similar debts


       "No
       Is the claim subject to offset?                                              " Other. Specify_T�n�·_h�ea�lth�------


       □      Yes


D TWC                                                                                                                                                        $----
                                                                                                                                                               900.00

       Nonpriorily Clecilm's Name
                                                                                                                           06/13/2017
       60 Columbus Circle
       Number           Straet
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                                       Ny          10023
                                                                                    □ Conlingenl
                                                                                    □ Unliquidated
       Who incun'ed the debt? Check one.                                            □ Disputed
       � Deblor 1 only
       □ Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       □ Debtor 1 and Deblor 2 only
                                                                                    □ Studenl loans
       □ At least one d lhedetllols and anolJa"
                                                                                    0 Obligalions arising out d a separalioo agreement or <hofce that
       □ Check If this claim is for a community debt                                □
                                                                                      you did not report as priority daims
                                                                                      Debls to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              " Other. specify_ca=  b�le�------
       ijf No
       □ Yes

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.,I
  Debtor 1       Tawanda                           Lashawn                   Luckey                      Case number<.,_,!_____________
                  FntName            Middle Name           l.astName




                Your NONPRIORITY Unsecured Claims - Continuation Page




□
  After listing any entries on this page, number them beginning with 4.4, folowed by 4.5, and so forth.                                                         Tolal claim



        Wright-Patt Credit Union                                                      Last 4 digits of account number _!_ _Q_        .l__ .l_               s.__2_1_.o_o
       Nonpriority Creditor's Name
                                                                                      When was the debt incuned?           04/27/2018
        2455 Executive Park Blvd
       Number          Sln!el
                                                                                      As of the date you file, the claim is: Check all that apply.
        Fairborn                                         OH             45324
       City                                             State          ZlPCode        □ Contingent
                                                                                      □ Unliquidaled
       Who incurred the debt? Check one.                                              □ Disputed
       l;a' Debtor 1 only
       □    Debtor 2 only                                                             Type of NONPRIORITY unsea.ired daim:
       □    Debtor 1 and Debtor 2 only
                                                                                      □ Student loans
       □    At least one rl the debtors and another                                   □ Obligations arising out rl a separation agreement or divorce that
       □ Check if this claim is for a community debt                                  □
                                                                                        you did not report as pnorily daims
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                � Other . Specify deposit ovdrft
       �No
       □ Yes

D      AD Astra Recovery Service
       Nonpriorily Crecilor's Name
                                                                                      Last 4 digits of account number     L ..Q_ _!_ _Q_                    s       572.00
                                                                                      When was the debt incuned?           02/15/2018
       7330 W. 33rd ST NSTE 118
       Number          Street
                                                                                      As of the date you file, the claim is: Check all that apply.
        Wichita                                          KS             67205
       City                                             State          ZIPCode        □ Contingent
                                                                                      □ Unliquidaled
       Who incuned the debt? Check one.                                               □ Disputed
       l;i' Debtor 1 only
       □    Debtor 2 only                                                             Type of NONPRIORITY unsea.ired daim:
       □    Debtor 1 and Debtor 2 only                                                □ Student loans
       □    At least one rl the debtors and another                                   □ Obligations arising out rl a separation agreement or divorce that
       □ Check if this claim is for a community debt                                    you did not report as priority daims
                                                                                      □ Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                ijf Other. Specify Speedy cash
       �No
       □ Yes
D Caine&Weiner                                                                        Last 4 digits of account number _j_ ..1_ _§_ 2-_
                                                                                                                                                            $      278.00

       Nonpriority Credito(s Name
                                                                                      When was the debt incurred?          06/13/2018
       5805 Sepulveda blvd 4th fl
       Number         Street
                                                                                      As of the date you file, the claim is: Check all that apply.
       Sherman Oaks                                     CA              91411
       City                                                            ZlPCode        □ Contingent
                                                                                      □   Unliquidated
       Who incurred the debt? Check one.                                              □   Disputed
       l;jt' Debtor 1 only
       □     Debtor 2 only                                                            Type of NONPRIORITY unsecured daim:
       □     Debtor 1 and Debtor 2 only                                               □ Student loans
       □     At. least one rl the debtors and another                                 □ Obligations arising out rl a separation agreement or divorce that
       □ Check if this claim Is for a community debt                                    you did not report as priority daims
                                                                                      □ Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                ijf Other. Specify   progressive
       �No
       □ Yes

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 Debtor 1         Tawanda                          LaShawn                 Luckey                    Casenumber(i,_,,,_____________



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                  FHIName            lliddleName         l.a&IName


                 Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning wilh 4.4, followed by 4.5, and so forth.                                                    Total claim



D      Duke Energy
       Nonpriority Creditol'S Name
                                                                                    Last 4 digits of account number .1_       JL ...!_ .1_
                                                                                                                         05/09/2018
                                                                                                                                                           s    565.12
                                                                                    When was the debt incuned?
       po box 690mail drop309c
       Nlanber        SIJeet
                                                                                    As of the date you file, the claim is: Check all that apply.
       Cincinnati                                      Oh             45201
      City                                                           ZIPCode        □ Contingent
                                                                                    □ Unliquidated
      Who incurred the debt? Check one.                                             □ Disputed
      l;j' Debtor 1 any
      0 Debtor 2 any                                                                Type of NONPRIORITY unsecured claim:
      0 Debtor 1 and Debtor 2 only
      0 At least one d the debtors and anolher
                                                                                    □    Student loans
                                                                                    0 Obligations arising out d a separation agreement or <ivorce that
                                                                                         you did not report as priority daims
       0 Check if this claim Is for a community debt
                                                                                    0 Debts to pension or. profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               li;f Other . Specify_uti_ lit_e_s_______
      id° No
       0 Yes



D     Sprint attn: bankruptcy department
      Nonpnorily Creditor's Name
                                                                                    Last 4 digits of account number �         i i .1_                      s   1,189.03
                                                                                    When was the debt incurred?          08/21/2015
      6200 Sprint Parkway
      Nunber          SIJeet
                                                                                    As of the date you file, the claim is: Check all that apply.
       Over1and Park                                   KS             66251
      Ci1y                                            State          ZIP Code       □ Contingent
                                                                                    □ Unliquidaled
      Who incurred the debt? Check one.                                             □ Disputed
      !;iii' Debtor 1 only
      □      Debtor 2 ony                                                           Type of NONPRIORITY unsecured claim:
      0 Debtor 1 and Debtor 2 only                                                  0 Student loans
      0 Al least one of the debtors and another                                     0 Obligations arising out d a separation agreement or diwrte that
      □ Check if this claim is for a community debt                                      you lid oot report as priority claims
                                                                                    0 Debts to pension or profil-sharing plans, and other similar debts
      Is the claim subject to offset?                                               Ii;{ Other. Specify cell phone bill
      li;fNo
      □ Yes
D VerizonWireless                                                                   Last 4 digits of account number     ..£. JL _[_ _§__                   $_7_ 9_9._ 90_
      Nonprloftty Creditor's Name
                                                                                    When was the debt incuned?          06/13/2017
       140W. St
      Number          Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       New York                                       Ny              10007
      City                                            State          ZIPCode        □ Contingent
                                                                                    0 Unliquidated
      Who incurred the debt? Check one.                                             □ Disputed
      l;i' Debtor 1 any
      0 Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      0 Debtor 1 and Debtor 2 only
      0 At least one d the debtors and anolher
                                                                                    □   Studenlkals
                                                                                    0 Obligations arising out of a separation agreement or diwn:e thal
                                                                                         you did not report as priority daims
      0 Check if this claim is for a community debt
                                                                                    0 Debts to pension or profil-sharing plans, and other similar debts
      Is the claim subject to offset?                                               Iii{ Other. Specify cell phone bill
      lilf No
      □ Yes

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 Debtor 1        Tawanda                           Lashawn                Luckey                     Casenumber(lf_,l_____________
                 FwstName              Mole Name         LaslName




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D      513rd Bank : attention bankruptcy dept
      Nonpriorily Credito(S Name
                                                                                   Last 4 digits of account number � _!_

                                                                                                                        05/09/2017
                                                                                                                                  JL _!_                 s 1,000.00
                                                                                   When was the debt incurred?
       38 Fountain Square
      Nlmlber        $Imel
                                                                                   As of the date you file, the claim is: Check all that apply.
       Cincinnati                                      Oh            45202
      City                                            Stale         ZIPCode        □ Contingent
                                                                                   □ Unliquidated
      Who incurred the debt? Check one.                                            □ Disputed
      � Debtor 1 only
      □ Debtor 2 only                                                              Type ofNONPRIORITY unsecured daim:
      □ Debtor 1 and Debtor 2 only                                                 0
      □ At least one of the debtors and another                                         Student loans
                                                                                   □ Obligations arising out of a separation agreement or chorce that
      □ Check if this claim is for a community debt                                  you did not report as priority daims
                                                                                   □ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              liif Other. Specify_CO_ll_ecti_·on_ ______
      liif No
      □ Yes

D      Key Bank attention: bankruptcy dept
      Nonpriorily Cre<ilo(s Name
                                                                                   Last 4 digits of account number     _Q__ � � .l_                      s       550.00
                                                                                   When was the debt incurred?          08/21/2015
       53 e. 4th st
      Nu-nber        SIJeet
                                                                                   As of the date you file, the claim is: Check all that apply.
       Cincinnati                                      Oh            45202
      City                                            State         ZIP Code       0    Contingent
                                                                                   □ Unliquidaled
      Who incurred the debt? Check one.                                            □ Disputed
      � Debtor 1 only
      □ Debtor 2 ony                                                               Type ofNONPRIORITY unsecured daim:
      □ Debtor 1 and Debtor 2 only                                                 □ Student loans
      0 At least one of the debtors and another                                    □ Obligations arising out of a separation agreement or divorce that
      □ Check if this claim is for a community debt                                □ Debts to pension or profit-sharing plans, and other similar debts
                                                                                     you did not report as priority claims

      Is the claim subject to offset?                                              liif Other. Specify_CO�l�le�cti-=·o=n'---------
      liif No
      □ Yes
D Hu tington Natio al Ba k attentio
             n                     n         n            n   Ba n kruptcy dept    Last 4 digits of account number     ..l_ � _§___ _§_
                                                                                                                                                         $      999.90
      Nonprlorily �s Name
                                                                                   When was the debt incurred?         06/13/2017
      41 South High st.
      Number         Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Columbus                                        Oh             43287
                                                                    ZIPCode        □ Contingent
                                                                                   □ Unliquidated
      Who incurred the debt? Check one.                                            □    Disputed
      l;ji" Debtor 1 only
      □ Debtor 2 only                                                              Type of NONPRIORITY unsecured daim:
      □ Debtor 1 and Debtor 2 only                                                 □ Student
      □ At least one of the debtors and another                                                 loans
                                                                                   □ Obligations arising out of a separation agreement or chorce that
      □ Check if this claim is for a community debt                                  you did not report as priority daims
                                                                                   □ Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              la   Other. Specify  �-���------
                                                                                                         collection
      liif No
      □ Yes

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  Debtor 1        Tawanda            Lashawn Luckey                                                Case number1;r.,__,>�------------
                   FsslName          -Name              LastName


           List All of Your NONPRIORITY Unsecured Claims
''''
 3. Do any creditors have nonpriority unsecured claims against you?
      D No. You have nothing to report in this part. Submit this fonn to the court with your other schedules.
      !;aves

  4. List all of your nonprforily unsecured claims in the alphabetical order of the creditor who holds each claim. If a aeditor has more than one
     nonpriority unsecured daim, list the creditor separately for each daim. For each daim listed, identify what type of daim it is. Do not list daims already
     induded in Part 1. If more than one aeditor holds a partiwlar daim, list the other aeditors in Part 3.lf you have more than three nonpriority unserured
     daims fill out the Continuation Page of Part 2.



EJ Progressive Leasing
                                                                                                                                                         Totaldalln

                                                                               Last 4 digits of account number _1__ _! � J!_
        NonpriorttyCreditor's Name                                                                                                                   $   ---�---
                                                                                                                                                            1,150.00
                                                                               When was the debt incurred?          01/22/2017
       256 West Data Drive
       Number          Street

       Draper                                          UT           84020
                                                                   ZIPCode     As of the date you file, the claim is: Check all that apply.
                                                                               0 Contingent
       Who incurred the debt? Check one.                                       0 Unliquidaled
       ijl Debtor 1 ony                                                        □ Disputed
       0 Debtor 2 only
       0 Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                               □ Student loans
       □ Check If this claim Is for a community debt                           0 Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
       Is the claim subject to offset?                                         0 Debls to pension or profil-sharing plans, and other similar debts
       ijl No                                                                  lil
                                                                                 Other. Specify_loa_ n_ ___________
       □   Yes

� merrick Bank attention bank ruptcy dept                                      Last 4 digits of account number      i
                                                                                                                  _! �              2                ---�---
                                                                                                                                                     $  1,500.00
  Nonpfiority CredilOl'S Name                                                  When was the debt incurred?     04/23/2016

       po box 1442
       Number          Street

       Draper                                          UT            84020     As of the date you file, the claim is: Check all that apply.
                                                                   ZIPCode
                                                                               □ Contingent
       Who incurred the debt? Check one.                                       □ Unliquidated
       0 Debtor 1 ony                                                          □ Disputed
       0 Debtor 2 only
       0 Debtor 1 and Debtor 2 only                                           Type of NONPRIORITY unsecured claim:
       0 Al least one of the debtors and another                               □ Student loans

       □ Check if this claim is for a community debt                           0 Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority daims
       Is the claim subject to offset?                                         0 Debls to pension or profit-sharing plans, and other similar debts
       □   No                                                                  0 Other S
                                                                                       . pecify _____________
       □   Yes

EJ         _ -.ority-.-C-redi- to_r'_s-Na_m_e_______________
         _ pn
      -Non
                                                             Last 4 digits of account number ___ _
                                                                                                                                                     $______
                                                             When was the debt incurred?
      Number           Street

                                                                              As of the date you file, the claim is: Check all that apply.
      City                                                         ZIPCode
                                                                              □ Contingent
      Who incurred the debt? Check one.
                                                                              □ Unliquidated
       0
       0
             Debtor 1 only
             Debtor 2 only
                                                                              □ Disputed
       0     Debtor 1 and Debtor 2 only                                       Type of NONPRIORITY unsecured claim:
       0     At least one of the debtors and another
                                                                              □ Student loans
       □ Check if this claim is for a community debt                          0 Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
      Is the claim subject to offset?
      □   No
                                                                              0 Debls to pension or prolil-sharing plans, and other similar debts
                                                                              0 Other.Specify _____________
      0 Yes



Official Fonn 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page_of_
       Case 1:19-bk-11222                     Doc 1           Filed 04/05/19 Entered 04/05/19 15:19:29                                     Desc Main
                                                             Document      Page 35 of 61
  Debtor 1       Tawanda                      LaShawn                   Luckey                    Casenumber(if.,_,l,______________
                  FntName            M-Name           LaslName




  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                Tolal claim



D       Duke Energy
       Nonpriolity Creditor's Name
                                                                                 Last 4 digits of account number      .J!.. l l l
                                                                                                                      02/02/2016
                                                                                                                                                            221.00
                                                                                                                                                        $____

                                                                                 When was the debt incurred?
        Po box 960 mail drop 309c
       Number          Strnet
                                                                                 As of the date you file, the claim is: Check all that apply.
        Cincinnati                                  Oh            45201
       City                                        Sta!e         ZIPCode         □ Contingent
                                                                                 □ Unliquidated
       Who Incurred the debt? Check one.                                         □ Disputed
       l;j' Debtor 1 only
       □ Debtor 2 only                                                           Type of NONPRIORITY unserured daim:
       0 Debtor 1 and Debtor 2 only
       0 At least one of the debtors and another
                                                                                 □ Student loans
                                                                                 0 Obligalions arising out of a separation agreement or chon:e that
       □ Check if this claim Is for a community debt                               you did not report as priority daims
                                                                                 0 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                           � Other pecify_-'-uti=·1_iti�es
                                                                                                             _________
                                                                                         .S
       id' No
       □ Yes

□                                                                                Last 4 digits of account number _ _ _ _                                $_____

                                                                                 When was the debt incurred?
       Numbe<
                                                                                 As of the date you file, the claim is: Check all that apply.
       City                                        State         ZIP Code        0 Contingent
                                                                                 □ Unliquidated
       Who incurred the debt? Check one.                                         □ Disputed
       0 Debtor 1 only
       □ Debtor 2 only                                                           Type of NONPRIORITY unsea.ired daim:
       0 Debtor 1 and Debtor 2 only                                              0 Student loans
       0 At feast one of the debtors and another                                 □ Obligations arising outpriority
                                                                                                            of a separation agreement or diwn::e that
       □ Check if this claim is for a community debt                               you did not report as           daims
                                                                                 □ Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                           □ Other. Specify___________
       □ No
       □ Yes
□                                                                                Last 4 digits of account number __ _ _
                                                                                                                                                        $____

       Nonpriolity Credilof's Name
                                                                                 When was the debt Incurred?
       Number          Street
                                                                                 As of the date you file, the claim Is: Check all that apply.
       City                                                      ZIPCode         □ Contingent
                                                                                 □ Unliquidated
       Who Incurred the debt? Check one.                                         □ Disputed
       □ Debtor only
                   1
       □ Debtor 2 only                                                           Type of NONPRIORITY unsecured daim:
       □ Debtor 1 and Debtor 2 only                                              □ Student loans
       0 At least one of the debtors and another                                 □ Obligalions report
                                                                                               arising out of a separation agreement or ciwn:e that
       □ Check If this claim is for a community debt                               you did not        as priority claims
                                                                                 □ Debts to pension or profit-sharing plans, and othersimilar debts
       Is the claim subject to offset?                                           □ Other. Specify_________
       0 No
       0 Yes




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                page_of_
       Case 1:19-bk-11222                     Doc 1           Filed 04/05/19 Entered 04/05/19 15:19:29                                    Desc Main
                                                             Document      Page 36 of 61
  Debtor 1      Tawanda                     LaShawn                        Luckey                     Case number1;r-1,______________
                 Fn!Name      lliddleName




•IE
                                                      LaslName


                Ust Others to Be Notified About a Debt That You Already Usted

  s. Use this page only If you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, If a collection agency la trying to collect from you for a debt you owe to someone else, list the original creditor In Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one crecrit.or for any of the debls that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                Line __ of (Check one):       □ Part 1: Creditors with Priority Unsecured Claims
       Number       Street                                                                                    0 Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                last 4 digits of account number____

       City                                   Slate              ZIPCode

                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                Line        of (Check one):   □ Part 1: Creditors with Priority Unsecured Claims
       Number
                                                                                                              0 Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number____
       City                                   State              ZIPCode


                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                Line       of ( Check one):   □ Part 1: Creditors with Priority Unsecured Claims
                                                                                                              0 Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                last 4 digits of account number____
       City                                   Slate              ZIPCode

                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                Line       of ( Check one):   □ Part 1: Creditors with Priority Unsecured Claims
       Number                                                                                                 0 Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number____
       City                                                      ZIPCode


                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                Line       of (Check one):    □ Part 1: Creditors with Priority Unsecured Claims
       Number       Street                                                                                    0 Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number____
       City                                                      ZIPCode

                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                Line       of (CheckoneJ: 0 Part 1: Creditors with Priority Unsecured Claims
       Number       Street                                                                                    0 Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number___ _
       City                                  State               ZIPCode


                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                Line __ of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
       Number
                                                                                                              0 Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims


      City                                   State           ZIPCode            Last 4 digits of account number___ _


Official Form 106E/F                                  Schedule Elf: Creditors Who Have Unsecured Claims                                                  page_of_
    Case 1:19-bk-11222                     Doc 1          Filed 04/05/19 Entered 04/05/19 15:19:29                        Desc Main
                                                         Document      Page 37 of 61
Debtor 1     Tawanda         Lashawn           Luckey                                       Casenumber(iflr,-,),_____________
               Fn:t Name     Middle Name         Last Name




&. Total the amounts of certain types of unsecured claims. This infounatio.1 is for statistical ntpOfting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                      Tolalclalm



Total claims
                6a. Domestic support obligations                               6a.
                                                                                      $
                                                                                                         0.00
from Part1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.    $                  0.00
                6c. Claims for dealh or personal injury while you were
                     intoxica1ed                                               6c.
                                                                                      $
                                                                                                         0.00
                6d. Other. Add au other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     +s                  0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                      $                  0.00


                                                                                      Total claim


                6f. Student loans                                              6f.                  38,297.00
Total claims                                                                           $
fromPart2       6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.    $                  0.00
                6h. Debts to pension or profit-eharing plans, and other
                     similar debts                                             6h.    $
                                                                                                         0.00

                6i. Other. Add all other nonpriorily unseaned claims.
                    Write that amount here.                                    6i.   +s             58,888.73


                6j. Total. Add lines 6fthrough 6i.                             6j.
                                                                                       $            97,185.73




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                 page_of_
        Case 1:19-bk-11222                      Doc 1          Filed 04/05/19 Entered 04/05/19 15:19:29                                 Desc Main
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   Fill 1n this information to 1dent1fy your case


   Debtor               Tawanda             Lashawn                   Luckey
                        Fntllame                lliddeNane              L.astName


   Debtor2
   (Spouse If filing)   First Name              Middle Name             Last Name


   United States Bankruptcy Court for the: Southern Disbict of Ohio

  Case number
   (If known)                                                                                                                             □ Check if this is an
                                                                                                                                             amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If two manied people ant filing together, both are equally responsible for supplying correc:t
information. If more space Is needed, copy the additional page, fill It out, number the entries, and attach It to this page. On the top of any
additional pages, write your name and case number (ff known).

  1. Do you have any executory contracts or unexpired leases?
        □ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this fonn.
        litl' Yes. FiD in an of the information below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106AIB).
  2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
     example, rent, vehicle lease, cell phone). See the inslructions for this form in the instruction booklet for more examples of executory contracts and
     unexpired leases.



        Person or company with whom you have the contract or lease                              State what the contract or lease is for

 2· 1
         First Interstate                                                                2010 Chrysler Sebring 151837
        Name
         380 Interstate North Parkwal
        Number
         Atlanta                      Ga             30339
        City                            State        ZIPCode

2.2

        Name

        Number            Street


        City                            State        ZIPCode
2.3

        Name

        Number            Street

        City                            Slate        ZIPCode
2.4
        Name

        Number            Street


        City                            Slate        ZIPCode

2.5
        Name

        Number            Street

        City                            State       ZIPCode


Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                           page1 of_
         Case 1:19-bk-11222                        Doc 1       Filed 04/05/19 Entered 04/05/19 15:19:29                       Desc Main
                                                              Document      Page 39 of 61

  Debtor 1        Tawanda                   Lashawn                Luckey                      Case number(ffktxMnl,______________
                  FntName     MiddleName                LastName



  - Addltional Page if You Have More Contracts or                           Le•-•
         Person or company with whom you haw the contract or lease                          What the contract or i-e is for

  2-2
         Name


         Number      Street

         City                              Stale      ZIPCode

  2 ._
         Name

         Number      Street

         City                              State      ZIPCode

  2.
         Name


         Number      Street


         City                              Stale      ZIPCode

  2 ._
         Name

         Number      Street

         City                              Stale      ZIPCode

  2.
         Name

         Number      Street

         City                              Slate      ZIPCode

  2._
         Name

         Number      Street

         City                              State      ZIPCode

  2._
         Name

         Number      Street

         City                              Stale      ZIPCode

  2._
         Name


         Number      Street

         City                          State          ZIPCode



Official Fonn 106G                                 Schedule G: Executory Contracts and Unexpired Leases                          page_ of
      Case 1:19-bk-11222                            Doc 1             Filed 04/05/19 Entered 04/05/19 15:19:29                      Desc Main
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  Fill in this 1nformat1on to 1dent1fy your case


  Debtor 1         Tawanda                         LaShawn                  Luckey
                    FntName                        -Name                     LastName

  Debtor2
  (Spouse, � filing) Fnt Name                      Middle Name               Last Name


  United Slates Bankruptcy Court for the: Southern District of Ohio

  Case number
  (If known)
                                                                                                                                        □ Check if this is an
                                                                                                                                           amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15
Codebtors are people or entities who are also liable for any debts you may haw. Be aa complete and ac:c:urallt aa possible. If two manied people
are filing together, both are equally responsible for supplying conact information. If more space Is needed, copy the Addltlonal Page, fill it out,
and number the entries In the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, writ.e your name and
case number flf known). Answer ew,y question.

  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      lia No
      □ Yes
  2. Within the last 8 years, have you lived in a convnunity property state or territory? (Community property states and territories indude
     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      Iii No. Go to line 3.
      □ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        □ No
        □ Yes. In which community state or tenitory did you live? _________ Fill in the name and current address ofthat person.
                 Nane of y,u-spouse, former spouse, or legal e<pvalenl


                Number             Street



                City                                         State                       ZIPCode

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse Is filing with you. List the person
     shown in line 2 again as a codebtor only if that person Is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 1060), Schedule EIF (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule EIF, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt
                                                                                                      Check all schedules that apply:

                                                                                                      □   Schedule D, line ___
                                                                                                      □
        Nana
                                                                                                          Schedule E/F, line __
        Number           Street                                                                       □   Schedule G, line ___

        City                                                                              ZIPCode


§]                                                                                                    □ Schedule D, line
                                                                                                      □ Schedule E/F, line __
        Nana


        Number           Street                                                                       □ Schedule G, line
        City                                                     State                    ZIPCode

§]                                                                                                    □ Schedule D, line
                                                                                                      □ Schedule E/F, line __
        Nana


        Nimber           SIJl!el
                                                                                                      □ Schedule G, line __
        City                                                     State                    ZIPCode


Official Form 106H                                                       Schedule H: Your Codebtors                                         page 1 of_
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  -
  Debtor 1        Tawanda                    LaShawn             Lucker                   Case number (if-
                  FntName      Middle Name       LastName




                  Additional Page to Ust More Codebton

       Column 1: Your c:odeblor                                                               Column 2: The credilDr to whom you owe the debt



  l9
                                                                                               Check all schedules that apply:

                                                                                               □ Schedule D, line ___
                                                                                               □ Schedule E/F, line ___
        Name


        Number        Street                                                                   □ Schedule G. line ___
        City                                          s-                     ZIPCode


                                                                                               □ Schedule D, line __
                                                                                               □ Schedule E/F, line __
        Number        Street                                                                   □ Schedule G. line ___
        City                                         Slate                   ZIPCode


                                                                                               □ Schedule D. line __
                                                                                               □ Schedule E/F, line __
        Name


        Number        Street                                                                   □ Schedule G, line
        City                                         Stale                   ZIPCode



                                                                                               □ Schedule D. line ___
                                                                                               □ Schedule E/F, line ___
        Name


        Number        Street                                                                   □ Schedule G, line __
        City                                         s-                      ZIPCode


                                                                                               □ Schedule D, line __
                                                                                               □ Schedule E/F, line __
       Nmlber        Street                                                                    □ Schedule G, line
       City                                          Stale                   ZlPCode


                                                                                               □ Schedule D, line __
                                                                                               □ Schedule E/F, line __
       Name


       Number        Stnoet                                                                    □ Schedule G. line
       City                                          State                   ZIPCode


                                                                                              □ Schedule D, line
                                                                                              □ Schedule E/F, line ___
       Name


       Number         Street                                                                  □ Schedule G, line ___
       City                                          Slate                   ZIPCode


                                                                                              □ Schedule D, line __
                                                                                              □ Schedule E/F, line __
       NLITlber      Stnoet                                                                   □ Schedule G. line
       City                                         Slate                    ZIPCode




Official Fonn 106H                                           Schedule H: Your Codebtors                                          page_
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    Fill 1n this 1nformat1on to 1dent1fy youc case


    Debtor 1             Tawanda             Lashawn                   Luckey
                         FmName              Midl:leName               LastName                          Check if this is:
    Debtor2                                                                                              □ An amended filing
    (Spouse, W filing) First Name             Middle Name

   United States Bankruptcy Court for the: Southern District of Ohio
                                                                        Last Name
                                                                                                         □ A supplement showing postpetition chapter 13
                                                                                                             expenses as of the following date:
   Case number                                                                                               MM/ DD/ YYYY
   (If known)



  Official Form 106J
  Schedule J: Your Expenses                                                                                                                                12/15

  Be as complete and accurate • possible. If two manied people are fling together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this fonn. On the top of any additional pages, write yourname and case number
  (if known). Answer every question.




 1. Is this a joint case?

     if No. Go to line 2.
     0 Yes. Does Debtor2 live in a separate household?

                 0 No
                 liiif
                   Yes. Debtor 2 must file Official Form106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                0 No
                                                                                      Dependent's relationship ID             Depe111dent's     Does depe111dent live
     Do not list Debtor1 and               � Yes. Fill out this infonnation for DeblDr 1 or DeblDr 2                          age               wilhyou?
     Debtor 2.                               each dependent..........................
                                                                                                                                                0 No
                                                                                    daughter                                  17
    Do not state the dependents'
    names.                                                                                                                                      Iii" Yes
                                                                                                                                                0 No
                                                                                                                                                0 Yes
                                                                                                                                                0 No
                                                                                                                                                □ Yes
                                                                                                                                                □ No
                                                                                                                                                0 Yes
                                                                                                                                                □ No
                                                                                                                                                0 Yes

 3. Do yourexpenses include
    expenses of people otherthan
                                           Iii(   No
                                           0 Yes
    yourself and your dependents?



  Estimam yourexpenses • of yourbankruptcy filing elate unless you are using this form as a supplement in a Chapter13 case to report
  expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
  applicable elate.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                             Yourexpenses

  4. The rental orhome ownership expenses foryourresidence. lndude first mortgage payments and
                                                                                                                        4.      $                  850.00
     any rent for the ground or lot.

      If not included in line 4:
      4a.    Real estate taxes                                                                                          4a.     $                     0.00
      4b.    Property, homeowners. or renter's insurance                                                                4b.     $                     0.00
      4c.    Home maintenance, repair, and upkeep expenses                                                              4c.     $                     O.OQ
      4d.    Homeowner's association or condominium dues                                                                4d.     $                     0.00

Official Form 106J                                            Schedule J: YourExpenses                                                                page1
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 Debtor 1         Tawanda
                  FntName     --          LaShawn               Luckey                  Case number (if-



                                                                                                                       Your expenses

                                                                                                                   $                     0.00
  5. Additional mortgage payments for your residence, such as home equity loans                             5.

  6. Utilities:
     6a. Electricity. heat, natural gas                                                                     6a.    $                   175.32
     6b. Water, sewer, garbage collection                                                                   6b.    $                     0.00
     6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $                    60.00
     6d. Other. Specify: ___________________                                                                6d.    $                     0.00
  7. Food and housekeeping supplies                                                                         7.     $                   300.00
  8. Childcare and children's education costs                                                               8.     $                     0.00
  9. Clothing, laundry, and dry cleaning                                                                    9.     $                    85.00
10. Personal care products and services                                                                     10.    $                   100.00
11. Medical and dental expenses                                                                             11.    $                     0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                   $                   100.00
    Do not indude car payments.                                                                             12.
13. Enter1ainment, clubs, recreation, mwspapers, magazines, and books                                       13.    $                     0.00
 14. Charitable contributions and religious donations                                                       14.    $                     0.00
15. Insurance.
    Do not indude insurance deducted from your pay or induded in lines 4 or 20.

     15a. Life insurance                                                                                    15a.   $                     0.00
     15b. Health insurance                                                                                  15b.   $                     0.00
     15c. Vehicle insurance                                                                                 15c.   $                   126.00
     15d. Other insurance. Specify:                                                                         15d.   $                     0.00

16. Taxes. Do not indude taxes deducted from your pay or induded in lines 4 or 20.
     Specify:                                                                                               16.    $                     0.00

17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                                        17a.   $                   398.00
     17b. Car payments for Vehicle 2                                                                        17b.   $                     0.00
     17c. Other. Specify:                                                                                   17c.   $                     0.00
     17d. Other. Specify:                                                                                   17d.   $                     0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                         0.00
                                                                                                                   $

19. Other payments you make to support others who do not live with you.
    Specify:                                                                                                 19.   $                    0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

     2oa. Mortgages on other property                                                                       20a.   $                     0.00
     20b. Real estate taxes                                                                                 20b.   $                    0.00
     20c. Property, homeowners, or renter's insurance                                                       20c.   $                    0.00
     20d. Maintenance. repair, and upkeep expenses                                                          20d.   $                    0.00
     20e. Homeowners association or condominium dues                                                        20e.   $                    0.00


Official Form 106J                                        Schedule J: Your Expenses                                                      page 2
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 Debtor 1       Tawanda
                              --          LaShawn              Luckey                       Casenumber(it-)'--------------




21. Olller. Specify: ___________________ _                                                                 21.   +s______ ....;c_o
                                                                                                                            _
                                                                                                                            o .c.._o


22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                         22a.   $------'----
                                                                                                                       2,194.32
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                 22b.   $_____0_. o_o

     22c. Add line 22a and 22b. The result is your monthly expenses.                                      22c.   $___�2_19_4_.3_2



23. Calculate your monthly net income.
   23a.     Copy line 12 (your combined monthly income) from Schedule I.                                  23a.
                                                                                                                  $  ---------
                                                                                                                          2,194.32

    23b.    Copy your monthly expenses from line 22c above.                                               23b.   -$____2'-,1_94_.3_ 2_

    23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                  s_____ _
                                                                                                                         o _
                                                                                                                           .o o
            The result is your monthly net income.                                                        23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or deaease because of a modification to the tenns of your mortgage?

    � No.
    □ Yes.        Explain here:




Official Form 106J                                        Schedule J: Your Expenses                                              page3
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                                           --
Fill 1n this 1nforrnat1on to 1de11t1fy your case

Debtor 1         Tawanda                   LaShawn                  Luckey
                 FntName

Oeblor2
(Spouse, � filing) Fnt Name                Middle Name              Last Name


United States Bankruptcy Court for the: Southern District of Ohio
Case number

                                                                                                                             □ Check if this is an
(If known)



                                                                                                                                amended filing


  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                      12/15

 If two married people are filing together, both are equally responsible for supplying correct Information.
 You must file this fonn whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
 obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Sign Below



      Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

      0 No
      Ii(' Yes. Name of person_D_o_n_n_a_H_a_rp.__e_r ____________ Attach Bankruptcy Petition Preparers Notice. Declaration, and
                                                                   Signature (Official Form 119).




                          of peljury, I declare that I have read the summary and schedules filed with this declaration and
                        true and correct.




                                                                       Signature of Debtor 2


                                                                       Date ______
                                                                                MM/ DO /   YYYY




 Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
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  Fill In this 1nformat1on to 1dent1fy your case


  Debtor 1          Janna                 LaShawn                Luckey
                     FntName              -Name                   LaslName

  Debtor2
  (Sp0use. � filing) FIIS! Name           Middle Name             Last Name

  United States Bankruptcy Court for the: ____ District of ____
  Case number                                                                                          Check if this is:
  (If known)
                                                                                                       0 An amended filing
                                                                                                       0 A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
Official Form 1061                                                                                         MM/ DD/ YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying comtet infonnalion. If you are married and not filing jointly, and your spouse Is living with you, Include information about your spouse.
If you are sepa,alad and your spouse Is not fling wilh you, do not Include lnfonnation about your spouse. If more space Is needed, attach a
separate sheet to this form. On the top of any additional pages, wribt your name and case number (if known). Answer 8V8IJ question.


1111               Describe�
 1. Fill in your employment
    information.                                                       Debtor1                                        Debtor 2 or non.filing spouse
    If you have more than one job,
    attach a separate page with
    infonnation about additional       Employment status             liZI Employed                                    0 Employed
    employers.                                                       0 Not employed                                   0 Not employed
    Include part-time, seasonal, or
                                                                   Customer Service
    self-employed work.
                                       Occupation
    Occupation may indude student
    or homemaker, if it applies.
                                       Employer's name             Humana

                                       Employer's address          321 West main Street
                                                                    Number    Street                                Number   Street




                                                                   Louisville               Ky         40202
                                                                    City               State   ZIP Code             City                 State ZIP Code

                                       How long employed there?


iii♦              Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the infonnation for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.
                                                                                                   ForDebtor1        ForDebtor 2 or
                                                                                                                     non.filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monlhly, calrulate what the monlhly wage would be.        2.
                                                                                               $    2,645.30           $

 3. Estimate and list monthly overtime pay.                                            3. +$                        +$

 4. Calculate gross income. Add line 2 + line 3.                                       4.      $    2,645.30 I         $




Official Form 1061                                            Schedule I: Your Income                                                         page 1
         Case 1:19-bk-11222                                  Doc 1            Filed 04/05/19 Entered 04/05/19 15:19:29                                                    Desc Main
                                                                             Document      Page 47 of 61

Debtor 1            Janna
                     FntName             --              LaShawn
                                                                    laslName
                                                                                        Luckey                                           Casenumber,..-.i�------------


                                                                                                                                     ForDebtor1          ForDebtor 2 or
                                                                                                                                                         non.filina spause

       Copy line 4 here ............................................................................................... + 4.         $    2,645.30           $______

 5. List all payroll deductions:

        5a.   Tax, Medicare,         and Social Security deductions                                                     5a.          $     337.88            $
        5b.   Mandatory contnbutions for retirement plans                                                               5b.          $      39.60            $
        5c. Voluntary contributions for retirement plans                                                                5c.          $       0.00            $
        5d. Required repayments of retirement fund loans                                                                5d.          $       0.00            $
        5e. Insurance                                                                                                   5e.          $     133.90            $
        5f. Donwstic support obligations                                                                                5f.          $       0.00            $

        5g. Union dues                                                                                                  5g.          $        0.00           $

        5h. Other deductions. Specify:                                                                                  5h. +s                0.00       +   $

  6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.          $     550.98            $


  7.    calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.          $    2,094.32           $


 a. List all other income regularly received:
    Ba. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                                                           $        0.00
         monthly net income.                                                   8a.                                                                           $

     8b. Interest and dividends                                                8b.                                                   $        0.00           $
     Be. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support. maintenance, divorce                                                              100.00
         settlement, and property settlement.                                  Be.                                                   $                       $

        8d. Unemployment compensation                                                                                   8d.          $        0.00           $
        Be. Social Security                                                                                             Be.          $        Q.QQ           $
        Bf. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:_________________ Bf.                                                                                            $        0.00           $

        89.   Pension or retirement Income                                                                              89.          $        0.00           $
        8h. Other monthly income. Specify: ____________ _ 8h.                                                                    +s           0.00       +s
 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + Bf +8g + 8h.

10. calculate monthly       income. Add line 7 + line 9.
                                                                                                                         9
                                                                                                                             .
                                                                                                                                 I   $        0.001          $


                                                                                                                                          2.194.321+ 1                                   2,194.32

11.
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

       State all other regular contributions to the expenses that you list in Schedule J.
                                                                                                                         10. 1 $                             $
                                                                                                                                                                                I= �
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatilles.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       S pecify:_____________________________                                                                                                                             11. + $___0._ 00
                                                                                                                                                                                         _ _
       Add the amount in the last column of line 10 to the amount in line 11. TIie result is the combined monthly income.
                                                                                                                                                                                         2,194.32
12.
       Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                 12.
                                                                                                                                                                                  Combined
                                                                                                                                                                                  monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     lilf No.
     D Yes. Explain:


Official Form 1061                                                                      Schedule I: Your Income                                                                        page2
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    F1ll In this 1nformat1on to 1dent1fy your case

    Debtor 1            Tawanda LaShawn            Luckey
                        F... Name             -Name                     LastName

    Debtor 2
    (Spouse, n filing) First Name            Middle Name                Last Name

    United States Bankruptcy Court for the: Soulhem District of Ohio

    Case number
    (If-)                                                                                                                        0 Check if this is an
                                                                                                                                    amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                             04/16
  Be as complete and accurata as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (If known). Answer every question.



  f&IE             Give Details About Your Marital status and Where You Lived Before


   1. What is your cummt marital status?

         □ Married
        21 Not married
   2. During the last 3 years, have you lived anywhere other than where you live now?
        lif No
        □ Yes. List an of the places you lived in the last 3 years. Do not indude where you live now.
               Debtor 1:                                          Dates Debtor 1    Debtor 2:                                         Dates Debtor 2
                                                                  lived there                                                         lived there

                                                                                    0 Same as Debtor 1                               □ Same as Debtor 1
                                                                 From                                                                   From
                 Number         Street                                                 Number Street
                                                                 To                                                                     To



                City                      Slate ZIP Code                               City                   Stale ZIP Code

                                                                                    □ Same as Debtor 1                              □ Same as Debtor 1
                                                                 From                                                                   From
                 Number         Street                                                 Number Street
                                                                 To                                                                     To



                 City                     Slate ZIP Code                               City                   State   ZIP Code

   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories indude Arizona. California, Idaho, Louisiana, Nevada. New Mexico, Puerto Rico, Texas. Washington, and Wisconsin.}
        lif No
        □ Yes. Make sure you fill out Schedule H: Your Coclebtors (Official Fonn 106H}.

 fifJ
Official Fonn 107
                 Explain the Soun:es of Your lncw

                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 1
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 Debtor 1      Tawanda Lashawn
                FmName          --               Luckey
                                                      LaslName
                                                                                                           Casenumber1;,-�-------------




  4_ Diel you have any income from employment or from operating a busiDNS during                         this,_-
                                                                                                         or the two pnJVious calendar years?
     RH in the total amount of income you received from all jobs and all businesses, including part-time activities_
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      □ No
      lit! Yes. Fill in the details.

                                                           Deblor1                                                  Deblor2

                                                           Soun:es al income               Gross inc:ome            Soun:es of income            Gross income
                                                           Check all that apply.           (before deductions and   Check all that apply.        (before deductions and
                                                                                           exdusions)                                            exdusions)

            From January 1 of current year until            lit!   :.i��-                  $ ___
                                                                                               7,'-4_1_3._2_5
                                                                                                                    □ :.i��-                     $_______
            the date you filed for bankruptcy:
                                                            □ Operating a business                                  □ Operating a business
            For last calendar year:                         lit! Wages, commissions,
                                                                 bonuses, tips                17-',_5_53_. _o_o
                                                                                                                    □ Wages,  comnissions.
                                                                                           $___                       bonuses. tips
                                                            □ Operating a business                                  □ Operating a business
                                                                                                                                                 $______
            (January 1 to December 31,.,.20     8.____,
                                          .._1...,
                                      yyyy


            For the calendar year before that:              □ Wages,  commissions,                                  □ Wages. commissions,
                                                              bonuses, lips                                           bonuses, lips
            (January 1 to December 31, ""20�1,.,7
                                       yyyy
                                                '----'      □ Operating a business         $
                                                                                               -
                                                                                                 30,958.00
                                                                                                --
                                                                                                  �- -
                                                                                                      -
                                                                                                                    □ Operating a business       $ ______




  s_ Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Sewrity,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1 _

      list each SOUl:e and the gross income from each source separately. Do not include income that you listed in line 4.

      GI No
      □ Yes. Fill in the details.
                                                           Deblor1                                                   Debtor2

                                                           Soun:es of Income               Gross income from         Sources of income       Gross income from
                                                           Describe below.                 eachsoun:e                Describe below.         eachsoun:e
                                                                                           (before deductions and                            (before deductions and
                                                                                           exdusions)                                        exdusions)


            From January 1 of current year until                                       $   -------
                                                                                                0. ------- $
                                                                                                            -------
                                                                                                             00

            the date you filed for bankruptcy:
                                                                                       $                                                     $_
                                                                                                                                              . ____ _
                                                                                       $                                                     $______

            For last calendar year:                                                    $   -------
                                                                                                0.00
                                                                                                     --------- $--------
            (January 1 to December 31,2 01 8 )
                                      yyyy
                                                                                       $
                                                                                                                                             -------
                                                                                                                                             $
                                                                                       $                                                     $._____ _


            For the calendar year before that:                                         $                  0.00                               $_____
            (January 1 to December     31,2017    )                                    $_______ --------- $ _______
                                          yyyy
                                                                                       $                                                     $_______




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page2
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Debtor 1     Tawanda LaShawn                   Luckey                                          Casenumber(if,.,_,,, _____________
              FntName                           LastName




FIE          List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor 1's or Debtor2's debts primarilyconsumer debts?
     0 No. Neither Debtor 1 norDebtor2 has primarilyconsumerdebls. Consumer debts are defined in 11 U.S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household purpose.·
           During the 90 days before you filed for bankruptcy, did you pay any a-editor a total of $6,425* or more?

              litf No. Go to line 7.
              D   Yes. List below each aeditor to whom you paid a total of $6,425* or more in one or more payments and the
                       total amount you paid that a-editor. Do not include payments for domestic support obligations, such as
                       child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
              • Subject to adjustment on 4/01/19 and eve,y 3 years after that for cases filed on or after the date of adjustment.

     ii Yes. Debtor 1 or Debtor 2 or both have primarilyconsumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any aeditor a total of $600 or more?

              0 No. Go to line 7.
              0 Yes. List below each aeditor to whom you paid a total of $600 or more and the total amount you paid that
                     aeditor. Do not include payments for domestic support obligations, such as child support and
                     alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                 Dates of      Total amount paid            Amount you stiD owe     Was this payment for...
                                                                payment

                    First Investors Servicing                 01/15/2018       $          1,194.00 $                22,062.00       D Mortgage
                    Creditor's Name
                                                                                                                                    liif Car
                    380 Instate north Parkway                  02/15/2019
                    Number    Street                                                                                                0 Credit card
                                                               03/15/2019                                                           □ Loan repayment
                                                                                                                                    0 Suppliers or vendors
                    Atlanta
                    City
                                         Ga
                                       State
                                                30339
                                                   ZIPCode                                                                          □ Other

                    Crecilor's Name
                                                                               $                        $                           □ Mortgage
                                                                                                                                    Dear
                    N1.mber   Street
                                                                                                                                    0 Credit card
                                                                                                                                    0 Loan repayment
                                                                                                                                    0 Suppliers or vendors
                    City               State       ZIPCode
                                                                                                                                    □ Olher

                                                                               $_______ $______
                                                                                         ,     _                                    0 Mortgage
                    CrecilDr's Name
                                                                                                                                    Dear
                                                                                                                                    0 Credit card
                                                                                                                                    □ Loan repayment
                    Number    Street



                                                                                                                                    0 Suppliers or vendors

                    City                           ZIPCode
                                                                                                                                    □ Other ____

Official Form 107                          Statement of Financial Affairs for lndMduals Filing for Bankruptcy                                  page3
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 Debtor 1      Tawanda Lashawn
                   Fnt-..       --             Luckey                                         Case nwnberth,--,�-------------




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. lndude payments for domestic support obligations,
     such as child support and alimony.
      if No
      0 Yes. List all payments to an insider.
                                                                Datasof       Total amount       Amount you still   Reason for this payment
                                                                payment       paid               owe


            lnsidel's Name
                                                                             $_____ $_____


            Number     Street




            City



                                                                             $_____ $_____


            Number    Stn,et




            City


  a. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     lndude payments on debts guaranteed or cosigned by an insider.

     if No
     0 Yes. List all payments that benefited an insider.
                                                                               Tolal amount     Amount yuu still R-. for this payment
                                                                               paid             owe              lndude aeditor's name



            Insider's Name
                                                                              $_____ $_____




            City                       Slate    ZIP Code



                                                                             $_____ $_____
            Insider's Name



            Number    Street




            City                       Slate    ZIP Code



Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page4
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Debtor 1       Tawanda LaShawn
               FntName             --           Luckey
                                                 LaslName
                                                                                                 Casenumber(.,-l____________
                                                                                                                ,            __




Hill           Identify Legal Actions, Repossessions, and Foreclosures
  9. Within 1 year before you filed for bankruptcy, were you a party In any lawsuit, court action, or admlnis1rative proceeding?
     List aH such matters, inclucfmg personal injury cases, smaR claims actions, divorces, collection suils, paternity actions, support or rustody modifications,
     and contract disputes.

     lif No
     □ Yes. Fill in the details.
                                                       Nature of the cae                    Court or agency                               Status of the cae


                                                                                                                                          □ Pending
                                                                                                                                          □
           Casetille.___________                                                          CourtName
                                                                                                                                              Onappeal

                                                                                          Nwnber   Street                                 □ Conduded
           Casenumber _________
                                                                                          City                   State   ZlPCode




                                                                                                                                          □   Pending

                                                                                                                                          □
           CasetiUe'-------------                                                         Court Name
                                                                                                                                              Onappeal

                                                                                          Number   Street                                 □   Concluded

           Casenurnber _________
                                                                                          City                   State   ZlPCode


  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attachecl, seized, or levied?
      Check all that apply and fill in the details below.

     !if No.   Go to line 11.
     □ Yes. Fill in the information below.
                                                                Describe the property                                     Date         Value of the property



               Cmcitor's Nane                                                                                                           $______


               Nlfllber   Street                                Explain what happened

                                                                □    Property was repossessed.
                                                                □    Property was foreclosed.
                                                                □    Property was garnished.
               City                     State   ZIP Code        □    Property was attached, seized, or levied.

                                                                Describe the property                                                    Value of the properl)



                                                                                                                                        $______
               Creditors Name



               Number     Street
                                                                Explain what happened

                                                                □    Property was repossessed.
                                                                □   Property was foreclosed.
                                                                □   Property was garnished.
               City
                                                                □   Property was attached, seized, or levied.



Official Form 107                         Statement of Financial Affairs for lndMduals Filing for Bankruptcy                                     pages
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Debtor 1          Tawanda LaShawn                     Luckey                                               Casenumber(I_,,______________
                  FntName        -Name                       la!Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, Including a bank or financial Institution, set off any amounts from your
      accounts or nduse to make a payment became you owed a debt?
     liZI No
     □ Yes. Fill in the details.
                                                                   Describe the action the creditor took                  Date action      Amount
                                                                                                                          wataken
           CrecilDr's Name

                                                                                                                                           $_______




           City                           State   ZIP Code        Last 4 digits of account number: XXXX-____


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
     1.4 No
     □ Yes
•iii              List Certain Gifts and Contn"butirms


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of mont than $600 per person?
     li4 No
     □ Yes. Fill in the details for each gift.
             Gifts with a total value of more than $600           Describe the gifts                                      Dates you gave     Value
             per person                                                                                                   the gifts



                                                                                                                                            $_____
           Person ID Whom You Gaw the Gift

                                                                                                                                            $______


           Number    Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600             Describe the gifts                                      Dates you gave    Value
           per person                                                                                                     the gifts


                                                                                                                                            $____ __
           Person ID Whom You Gaw the Gift

                                                                                                                                            $_____


           Number    Street



           City                           State   ZIP Code


           Person's relationship to you _____


Official Fann 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page&
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Debtor 1           Tawanda LaShawn
                   FntName         --                 Luckey
                                                           L.astName
                                                                                                              Casenumber1it-l____________
                                                                                                                             ,           _




  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     � No
     □ Yes. Fill in the details for each gift or contribution.
             Gifts or contributions to charities                 Describe what you conbibuted                                         Date you          Value
             that total more than $800                                                                                                contributed



                                                                                                                                                        $_____
           Charity's Name


                                                                                                                                                        $_____


           Number     Street




           City         State          ZIPCode




•if·I              ust Certain Losses
  15. Within 1 year before you filed for bankruptcy or since you flied for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     if No
     □ Yes. Fill in the details.
            Describe the property you lost and                    Describe any insurance coverage for the loss                        Date of your      Value of property
            how the loss occurred                                                                                                     loss              lost
                                                                  Include the amount that insurance has pad. List pending insurance
                                                                  claims on line 33 d Schedule AIS: Property.


                                                                                                                                                        $_____




f&fM              List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behaH pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     �No
     □ Yes. RH in the details.
                                                                  Description and value of any property transferred                   Date payment or   Amount of payment
                                                                                                                                      lransfarwas
            Person Who Was Paid                                                                                                       made


            -ber $lreel                                                                                                                                 $.______


                                                                                                                                                        $______

            City                         State   ZIPCode



            Email or website address

            Person Who Made the Payment_ if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page7
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 Debtor 1          Tawanda Lashawn
                   Fnl-.,           --                      .___
                                                       Luckey                                            Casenumberv,-,..______________




                                                               Description and value al any properly transfarred               Dale payment or        Amount of
                                                                                                                               transrar-made          payment

             Person Who Was Paid
                                                                                                                                                     $.______
             Number   Street

                                                                                                                                                     $______




                    or-
            City



            Email              address


            Person Who Made the Payment. � Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

      lil'No
      □ Yes. Fill in the details.
                                                               Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                               transferwas
                                                                                                                               made
             Person Who Was Paid


             Number    Street                                                                                                                        $._____


                                                                                                                                                     $._____
            City                         Slale   ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinaiy course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
     lif' No
     □ Yes. Fill in the details.
                                                               Description and value of properly        Describe any properly or payments received      Dale transrar
                                                               tra11sfenecl                             or debts paid in exchange                       -made
            Person Who Receiwd Transfer


            Number    Street




            City                         State   ZIP Code


            Person·s relationship to you _____


            Person Who Receilled Transfer


            Number    Street




            City                         Slale   ZIP Code

            Person·s relationship to you _____

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   pages
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Debtor 1       Tawanda LaShawn
                  FirslName     --              Luckey
                                                      last Name
                                                                                                      Case number,,-�-------------




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
      are a beneliciary7 {These are often called asset-protection devices.)

     li2I No
     □ Yes. Fill in the details.
                                                             Description and value ofthe property transferred                                  Dale transfer
                                                                                                                                               was made


           Namedtrust __________




  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefl,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, coope,atives, associations, and other financial institutions.
     �No
     □Yes. Fill in the details.
                                                              Last 4 digits of account number   Type of account or   Date account was       Last balance before
                                                                                                inslrument           closed, sold, moved,   closing or transfer
                                                                                                                     or tnmsferred

           Name of Financial -
                                                              xxxx-____                          □ checking                                 $.____
           Number      Slreet                                                                   □ Savings
                                                                                                □ Money market
                                                                                                □ Brokerage
           City                    State   ZIPCode
                                                                                                □ oo-___
                                                              xxxx-____                         □ Checklng                                  $____
           NameofFlnanclal-
                                                                                                □ Savings
           Number      Street                                                                   □ Money market
                                                                                                □ Brokerage
                                                                                                □ Othar____
           City                    Slale   ZJPCode

 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     filNo
     □  Yes. Fill in the details.
                                                 Who else had acc:ess ID it?                Describe the contents                                  DoyoustiH
                                                                                                                                                   have it?

                                                                                                                                                   □ No
           NameofFlnanclal-                                 Name                                                                                   □ Yes

                                                            City                 ZIPCoda

           City                    Slale   ZIP Code



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 Debtor 1
                     Fnt-    --
                   Tawanda LaShawn            Luckey
                                                    Last-
                                                                                                      Casenumber11.,_,,______________



 22. Have you stored property in a storage unit or place other Ulan your home within 1 year before you filed for bankruptcy?
     ii No
     □  Yes. Fill In the details.




                                                        -
                                                   Who else has or had access to it?         Describe the contents                         Do you still
                                                                                                                                           have it?

                                                                                                                                           □ No
              -•�FKllly                                                                                                                    □ Yes
              Number Siren                              Number Slrea

                                                        CllySlalll ZIP Code

              Cily



                     I...Ul'y PrapertyYoa Hold or COldnll for h••- EIN
  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold In trust for someone.
      Ii( No
      □   Yes. Fill in the details.
                                                       Where is the property?                           Describe the property        Value


                                                                                                                                     $.____




                                                                                  Slalll   ZIP Code


iiii·i ...........
                                                      City
              City              Slalll   ZIP Code

                               Moat      .....,._,ldal ........._
  For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including dlsposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occuned.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     ii No
     □ Yes. Fill In the details.

            ---
                                                       Govemmenlal unit                                                             Dale of notic:e



                                                      Guweoi■i&llal-



            Numi.r Siren                              Number Siren

                                                      City                Slate ZIP Code


            City



Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 10
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Debtor 1       Tawanda LaShawn               Luckey                                                  Casenumber(it-._______________
                   F... Name   -Name               LaslName




  25. Haw you notified any governmental unit of any release of hazardous material?

     GI No
     □ Yes. FIii in the details.

            -of-
                                                         Gavemmental unit                        Environmenlal law, if you know it                  Dale of notice



                                                        eoo-,■   -llill-
                                                        Nmnbar    -



                                                        City


            City


  26. Haw you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
     liZI No
     □ Yes. Fill in the details.
                                                                                                                                                      Status of the
                                                          Court or agency                             Nature of the case                              case




                                                          --
           Casetille__________
                    .         _
                                                                                                                                                     □ Pending
                                                                                                                                                     □ Onappeal
                                                          Court Name



                                                                                                                                                     □ Concluded
           Case number                                    City                 Slate   ZF Code




•§ffM               GIV9 Detall9 A1NN1t Yow llllalws or Coll■ectlcNut to Aay Bal■H■
 rr. Within 4 years befOl9 you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           □A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           □A member of a limited liability company (LLC) or limited liability partnership (LLP)
           □A partner in a partnership
           □An officer, director, or managing executive of a corporation
           □ An owner of at least 5% of the voting or equity securities of a corporation
     � No. None of the above applies. Go to Part 12.
     □ Yes. Check all that apply above and fill in the details below for each business.
                                                   Describe the nature of the bust-                                 Employer Identification number
                                                                                                                    Do not include Social Security number or 111N.

                                                                                                                    EIN: __ _______
            Number      -
                                                          Name of accountant or booklreeper

                                                                                                                    From               To
            City                 Stale   ZF Code
                                                          Describe the nature of the business                       Employer Identification number
                                                                                                                    Do not include Social Security number or mN.

                                                                                                                    EIN: __ _______

                                                          Name of acc:ountant or booklreeper


                                                                                                                    From               To
            City                 Slabt   ZIPCode


Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 11
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Debtor 1
                          --
               Tawanda LaShawn              Luckey
                                               lalNane
                                                                                             Case number en,.-.,_____________



                                                                                                           Employer Identification number




           --
                                                     Describe Ille nature of Ille buslmss
                                                                                                           Do oot inc:lude Social Securily nmnber or fflN.

                                                                                                           EIN: __ _______

                                                     Name of accountant or bookkeeper                      Dates business existed



                                                                                                           From ___ To ___
           City               Slale      ZPCode




 28. Within 2 years befont you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     liZf No
     □ Yes. Fill in the details below.

           -
                                                     Data issued




           --                                        -/D0/YYYY




,,,,, ...
           City               S1abt   ZPCode




                    �

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answetS are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in         • with a     kruptcy       can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                          �
      18 .S. . §§ 152, 1341 519, and 71.
                           [/



                                                                     Signalure of Debtor 2


                                                                      Data _____

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      if   No
      □    Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      □ No
      liJ' Yes. Name of person Donna Harper                                                     _   Attach the Bankruptcy Petition Preparers Notice,
                                                                                                    Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 12
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                                           --
  Fill In this 1nformat1on to 1dent1fy your case                                                   Cheer-: one b'JX or,       as cl•,..ectr:d tr; t h s f: ..- r-r a 1--:! I'...
                                                                                                                          J

                                                                                                   Form 122A-1Supp
  Debtor 1        Tawanda                Lashawn                    Luckey
                   FntNane                                            LastNane
  Debtor2
                                                                                                   litf 1_ There is no presumption of abuse_
  (Spouse. W filing) Fm Name               Middle Name                Last Name                    D 2. The calculation to determine if a presumption of
                                                                                                        abuse applies will be made under Chapter 7
  Umed Stales Bankruptcy Court for lhe: Southern District of Ohio                                       Means Test Calculation (Official Form 122A-2).
  Case number                                                                                      □ 3. The Means Test does not apply now because of
  (lfknoMl)                                                                                               qualified military service but it could apply later.


                                                                                                   □    Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                        12/15

Be as complete and accurate as possible. tf two manied people are filing together, both are equally responsible for being accurate. tf more
space is llNded, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). tf you bef•ve that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of quaBfylng mililary service, complebt and file Sta,..,.ent of Exemption from Presumption of
Abuse Under§ 7(17(b}(2J (Official Form 122A-1Supp) wilh this form.


•iii            Calculate Your Currant lloatllly •-

  1. What is your marital and filing status? Check one only.
      liZi Not manied. Fill out Column A. lines 2-11.
      D   Maniecl and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

      □ Maniecl and your spouse is NOT filing with you. You and your spouse are:
          D      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          □     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not indude evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
     Fill in the result. Do not indude any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                   Column A               ColumnB
                                                                                                   Debtor1               Debtor2or
                                                                                                                         non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                $ 2,645.30            $____

 3. Alimony and maintenance payments. Do not indude payments from a spouse if
    Column B is filled in.                                                                          $         0.00        $____
 4. All amounts from any source which are regularly paid for household expe­
    of you or your dependents, including child support. lndude regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. lndude regular contributions from a spouse only if Column B is not
    filled in. Do not indude paymenls you listed on line 3.
                                                                                                    s     400.00          $____
 5. Net Income from operating a business, profession,
                                                                    Debtor 1      Debtor 2
     or farm
     Gross receipts (before all deductions)                          s 0.00       $__
     Ordinary and necessary operating expenses                      -$ 0.00-$__
     Net monthly income from a business, profession, or fann         s o.oo s__ :+ s__o_.oo                               $____

 6. Net income from rental and other real property                  Debtor 1 Debtor 2
    Gross receipts (before all deductions)                           $� $__
     Ordinary and necessary operating expenses                      -$ 0.00-$__
     Net monthly income from rental or other real property           s    0.00
                                                                                  $__        :+    $__0_.00               $____
 7. Interest, dividends, and royalties                                                             $__..;;;.;0.=00        $____



Official Fonn 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                               page 1
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Debtor 1          Tawanda
                  Fnt Name              llidlle Name
                                                         LaShawn       Last Name
                                                                                               Luckey   a                 Case number(#-�-------------


                                                                                                                             Column A                   ColumnB
                                                                                                                             Oebtor1                    Oebtor2or
                                                                                                                                                        non-filing spome
 8. Unemployment compensation                                                                                                  s__o_.o_o                   $_____
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ...............................              +
        For you .................................................................................. $    0.00
        For your spouse...................................................................        $     0.00

                                                                                                                               $__0..;_·.c-.00
 9. Pension or retirement income. Do not indude any amount received that was a
    benefit under the Social Security Ad.                                                                                                                  $_____
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not indude any benefits received under the SOcial Security Ad or payments received
     as a victim of a war aime, a aime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

                                                                                                                               $           0.00            $
                                                                                                                               $           0.00            $
      Total amounts from separate pages, if any.                                                                            +s             0.00         +s

                                                                                                                                                                              =Is 3,045.30
                                                                                                                                    3,045.30        +                                      1
 11. Calculate your total current monthly income. Add lines 2 through 1O for each
     column. Then add the total for Column A to the total for Column B.                                                        $                           $
                                                                                                                                                                                Tolal cunent
                                                                                                                                                                                monthly income


•§fj            Detenni- Whetller the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.    Copy your total current monthly income from line 11................................................................................... Copy line 11   11ere+     $ 3,045.30
              Multiply by 12 (the number of months in a year).                                                                                                                X 12
     12b.    The result is your annual income for this part of the form.                                                                                               12b.   s 36,543 60
 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                                                       OH

     Fill in the number of people in your household.                                            2
     Fill in the median family income for your state and size of household............................................................................................. 13.   $36,036.00
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy derk's office.
 14.How do the lines compare?

    14a.  □      Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                 Go to Part 3.

     14b. □      Line 12b is more than line 13. On the top of page 1, check box 2. The presumption of abuse is determined by Form 122A-2.
                 Go to Part 3 and fill out Form 122A-2.



                                                                  r enalty of perjury that the information on this statement and in any attachments is true and correct.



                                                                                                                     Signature of Debtor 2

                                                                                                                     Date ______
                                                                                                                          MM/ DD IYYYY

                     If you checked line 14a, do NOT fill out or file Form 122A--2.
                     If you checked line 14b, fill out Form 122A-2 and file it with this form.


Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                                                page2
